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Exhibit 3
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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA




        IN RE NATIONAL                            :   CIVIL ACTION NO.
        PRESCRIPTION OPIATE                       :   3:17-01362
        LITIGATION                                :
        Cabell County Commission                  :   and
        and City of Huntington, WV                :
                                                  :   CIVIL ACTION NO.
                                                  :   3:17-01665




               EXPERT REPORT OF CRAIG J. MCCANN, PH.D., CFA

                                 August 3, 2020
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   I.      Qualifications and Remuneration

                A. Qualifications
           1.      I am the President of Securities Litigation and Consulting Group,
   Inc. (“SLCG”). SLCG was founded in 2000 to apply finance, economics,
   statistics and mathematics in litigation and consulting. SLCG staff includes
   professionals with PhDs and advanced degrees in applied mathematics,
   statistics, finance and economics.

           2.      Prior to founding SLCG, I was a Director at LECG, a business
   unit of Navigant Consulting, Inc. Prior to joining LECG, I was Managing
   Director, Securities Litigation at KPMG LLP for two years. I was a senior
   financial economist in the Office of Economic Analysis at the U.S. Securities
   and Exchange Commission (the “SEC”) from 1992 to 1993 and from 1994 to
   1995.

           3.      I have taught graduate economics and finance courses at the
   University of South Carolina, Virginia Tech, Georgetown University and at
   the University of Maryland, College Park.

           4.      I have been hired as a consultant and expert witness in
   investigations by many state and federal agencies including the SEC, the
   Federal Deposit Insurance Corporation and the U.S. Department of Justice.

           5.      My work as a consultant and expert witness over the past 25
   years has required me to extract or receive data, process and validate the data
   and produce varied statistical analyses.




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          6.       I earned a Ph.D. in Economics from the University of California,
    at Los Angeles. My graduate studies included extensive coursework in
    mathematics, statistics and econometrics.

          7.       My resume, which includes a list of all publications authored by
    me within the last 10 years and the cases in which I have testified as an expert
    at trial or by deposition within the last four years, is attached as Appendix 1.

          8.       I previously provided expert testimony on substantially the same
    issues discussed below through written reports and depositions in In Re
    National Prescription Opiate Litigation and In Re Opioid Litigation more
    fully identified in my resume.

               B. Remuneration
          9.       SLCG is being compensated for its time and expenses. My
    hourly rate is $475 per hour. Other SLCG personnel working on this matter
    have billing rates of $100 to $350 per hour.

    II.   Materials Considered

          10.      In preparing this report, I have considered the following
    documents:

          a. Automation of Reports and Consolidated Orders System
                (“ARCOS”) electronic data, received from the Drug Enforcement
                Administration (hereafter, “ARCOS Data”);

          b. “ARCOS Retail Drug Summary Reports,” Drug Enforcement
                Administration, 2000-2019, (available at
                www.deadiversion.usdoj.gov/arcos/retail drug summary/index.ht
                ml);
                                          -2-
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          c. “National Drug Code Dictionary,” Drug Enforcement
             Administration, November 2018 (current version available at
             www.deadiversion.usdoj.gov/arcos/ndc/ndcfile.txt);

          d. “NDC Dictionary Instructions,” Drug Enforcement
             Administration, October 2010 (current version available at
             www.deadiversion.usdoj.gov/arcos/ndc/readme.txt);

          e. “NDC/NHRIC Labeler Codes,” U.S. Food & Drug Administration,
             January 2018 (current version available at
             www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeli
             ng/ucm191017.htm);

          f. “Opioid Oral Morphine Milligram Equivalent (MME) Conversion
             Factors,” Centers for Disease Control and Prevention, August 2017
             (current version available at
             www.cdc.gov/drugoverdose/resources/data.html);

          g. “Full Replacement Monthly NPI File,” Centers for Medicare and
             Medicaid Services, November 2018 (current version available at
             download.cms.gov/nppes/NPI_Files.html);

          h. ARCOS Registrant Handbook, Drug Enforcement Administration,
             August 1997 (current version available at
             www.deadiversion.usdoj.gov/arcos/handbook/full.pdf);

          i. Masters Pharmaceutical, Inc. v. Drug Enforcement Administration,
             861 F.3d 206 (D.C. Cir. 2017);

          j. U.S. Dep't of Justice, DEA, Chemical Handler's Manual: A Guide
             to Chemical Control Regulations (2004), (WAGMDL00395965);

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             k. U.S. Dep’t of Justice, DEA, Diversion Investigators Manual
                 (1990) (CAH_MDL_PRIORPROD_DEA07_01176247);

             l. U.S. Dep’t of Justice, DEA, Diversion Investigators Manual
                 (1996) (CAH_MDL2804_02203353);

             m. Administrative Memorandum of Agreement (between DEA and
                 Mallinckrodt);1

             n. “Red Flags and Warning Signs Ignored: Opioid Distribution and
                 Enforcement Concerns in West Virginia,” Prepared by the Energy
                 and Commerce Committee, Majority Staff, December 19, 2018,
                 (US-DEA-00025303 – 00025627);

             o. Defendants’ Transactional Data in West Virginia
                 (ABDCMDL00003913; ABDCMDL01911435 -
                 ABDCMDL01911478; ABDC-WVFED00000001 - ABDC-
                 WVFED00000009; CAH_MDL2804_03468426 -
                 CAH_MDL2804_03468433; MCKMDL01391022 -
                 MCKMDL01391081; MCKMDL01391082 -
                 MCKMDL01391096; MCKMDL01391099 -
                 MCKMDL01391111; MCKMDL01391112 -
                 MCKMDL01391126);

             p. Drug Emporium dispensing data (DE0034480- DE0034486);




    1
        www.justice.gov/usao-edmi/press-release/file/986026/download
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          q. Suspicious Order Reports produced by the DEA
             (DEA_000000001(confidential_suspicious_trans_oh_wv_al_il_mi _
             fl_20060101-20141231.xlsx); SORS-000001 - SORS-2932);

          r. Suspicious Order Reports produced by AmerisourceBergen Drug,
             Cardinal Health and McKesson Corporation
             (ABDCMDL01911479; ABDCMDL01911482;
             ABDCMDL00003913; CAH_MDL2804_03468434;
             CAH_FEDWV_00377023-CAH_FEDWV_00377825;
             CAH_MDL_PRIORPROD_DEA07_01544958;
             CAH_MDL_PRIORPROD_DEA07_01641502;
             CAH_MDL_PRIORPROD_DEA07_01190057;
             CAH_MDL2804_00689780; CAH_MDL2804_00718279;
             CAH_MDL2804_00613605; CAH_MDL2804_00719378;
             CAH_MDL_PRIORPROD_DEA07_01120515;
             CAH_MDL_PRIORPROD_DEA07_02731023-R;
             CAH_MDL_PRIORPROD_DEA07_01544958-R;
             CAH_MDL_PRIORPROD_DEA07_01641502-R;
             CAH_MDL_PRIORPROD_DEA07_01649530-R;
             CAH_MDL_PRIORPROD_DEA07_01658177-R;
             CAH_MDL_PRIORPROD_DEA07_01667412-R;
             CAH_MDL_PRIORPROD_DEA07_01679058-R;
             CAH_MDL_PRIORPROD_DEA07_01698986-R;
             CAH_MDL_PRIORPROD_DEA07_01708184-R;
             CAH_MDL_PRIORPROD_DEA07_01718249-R;
             CAH_MDL_PRIORPROD_DEA07_01731023-R;
             CAH_MDL_PRIORPROD_DEA07_01738760-R;
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             CAH_MDL_PRIORPROD_DEA07_01746932-R;
             CAH_MDL_PRIORPROD_DEA07_01756326-R;
             CAH_MDL_PRIORPROD_DEA07_01761369-R;
             CAH_MDL_PRIORPROD_DEA07_01769514-R;
             CAH_MDL_PRIORPROD_DEA07_01774365-R;
             CAH_MDL_PRIORPROD_DEA07_01778618-R;
             CAH_MDL_PRIORPROD_DEA07_01783983-R;
             CAH_MDL_PRIORPROD_DEA07_01788800-R;
             CAH_MDL_PRIORPROD_DEA07_01793846-R;
             CAH_MDL_PRIORPROD_DEA07_01798617-R;
             CAH_MDL_PRIORPROD_DEA07_01803669-R;
             CAH_MDL_PRIORPROD_DEA07_01810924-R;
             CAH_MDL_PRIORPROD_DEA07_01815068-R;
             CAH_MDL_PRIORPROD_DEA07_01820263-R;
             CAH_MDL_PRIORPROD_DEA07_01829063-R;
             CAH_MDL_PRIORPROD_DEA07_01833389-R;
             CAH_MDL_PRIORPROD_DEA07_01837849-R;
             CAH_MDL_PRIORPROD_DEA07_01845055-R;
             CAH_MDL2804_03060159; CAH_MDL2804_03060627;
             CAH_MDL2804_01909637; CAH_MDL2804_01909938;
             CAH_MDL2804_01212458; CAH_MDL2804_01212460;
             CAH_MDL2804_01212684; CAH_MDL2804_01212686;
             CAH_MDL2804_01214790; CAH_MDL2804_01214792;
             CAH_MDL2804_01215078; CAH_MDL2804_01215080;
             CAH_MDL2804_01215082; CAH_MDL2804_01215084;
             CAH_MDL2804_01215394; CAH_MDL2804_01215638;
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             CAH_MDL2804_01215640; CAH_MDL2804_01215642;
             CAH_MDL2804_01215644; CAH_MDL2804_01216962;
             CAH_MDL2804_01217648; CAH_MDL2804_01218306;
             CAH_MDL2804_01218622; CAH_MDL2804_01218624;
             CAH_MDL2804_01218626; CAH_MDL2804_01222854;
             CAH_MDL2804_01222856; CAH_MDL2804_01222858;
             CAH_MDL2804_01223654; CAH_MDL2804_01223656;
             CAH_MDL2804_01223658; CAH_MDL2804_01226130;
             CAH_MDL2804_01226132; CAH_MDL2804_01226138;
             CAH_MDL2804_01226146; CAH_MDL2804_01226148;
             CAH_MDL2804_01226150; CAH_MDL2804_01226166;
             CAH_MDL2804_01226168; CAH_FEDWV_00377023 -
             CAH_FEDWV_00377825; MCKMDL01391127).

          s. Deposition of Thomas Prevoznik, April 17-18, 2019, May 17,
             2019 and exhibits thereto;

          t. Corrected Joint and Third Amended Complaint, Cabell County
             Commission and City of Huntington, West Virginia;

          u. Discovery Ruling No. 12 Regarding Suspicious Order
             Interrogatory [Doc. 1174];

          v. Cardinal Health DEA Compliance Manual
             (CAH_MDL_PRIORPROD_DEA07_01383895);

          w. McKesson Operations Manual Lifestyle Drug Monitoring Program
             (MCKMDL00355251);

          x. Other documents cited in the text and footnotes below.

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    III.    Assignment

            11.   I have been asked by Plaintiffs’ Counsel to document how I
    processed, validated and augmented opioid transaction data produced by the
    Drug Enforcement Administration (“DEA”) and internal Transactional Data
    (identified in paragraph “10.o” above) produced by the Distributor
    Defendants, to attribute transactions with Dispensers to Distributor
    Defendants in this report.2

            12.   I have been asked to summarize shipments in the ARCOS Data,
    especially those shipments into Cabell County and the City of Huntington,
    WV attributable to all the Defendants.

            13.   I have also been asked to report the results of applying certain
    algorithms to the ARCOS Data and Distributor Defendants’ Transactional
    Data.


    IV.     Summary of Opinions

            14.   Based upon my comparison of the ARCOS Data produced by the
    DEA and the public ARCOS Retail Drug Summary Reports, I conclude that,
    after correcting a relatively small number of records records as explained in
    more detail below, the ARCOS Data produced by the DEA is reliable.

            15.   I conclude that the ARCOS Data is reliable in part because it
    closely matches the DEA’s Retail Drug Summary Reports for January 2006
    through December 2014. Retail Drug Summary Reports summarize the
    weight of drugs in reported transactions with consumers in each of the 50

    2
     As explained more fully below I use “Dispensers” to refer to businesses that dispense
    drugs to patients such as pharmacies and hospitals.
                                            -8-
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    states and the District of Columbia. Where there were discrepancies between
    the ARCOS Data produced by the DEA and the Retail Drug Summary
    Reports, I was able to identify and correct the error in either the ARCOS Data
    or the Retail Drug Summary Reports.

             16.    In Section V, I describe the ARCOS Data produced by the DEA
    and report national summary statistics for the ARCOS Data, after correcting
    minimal errors explained fully in Appendix 2. In addition, I compare the
    processed ARCOS Data to Retail Drug Summary Reports published by the
    DEA to verify that the shipments of opioids to dispensing outlets in the
    ARCOS Data are consistent with the amount of each opioid the DEA
    calculates was shipped into each 3-digit zip code each quarter.

             17.    In Section VI, I report summary statistics for subsets of the
    processed ARCOS Data covering Cabell County and the City of Huntington,
    WV. These summary statistics show that between 2006 and 2014, Dispensers
    in Cabell County and the City of Huntington, WV received 127.9 million
    Dosage Units or 3.3 billion MME of opioids. Given the region’s 99,946
    average population during this same time period, 3 Dispensers received
    enough opioids for every resident in Cabell County and the City of
    Huntington, WV to consume 142 Dosage Units or 3,650 MME every year
    from 2006 to 2014.

             18.    In Section VII, I describe a non-exhaustive set of algorithms that
    can be systematically applied to the ARCOS Data, supplemented with
    Defendants’ Transactional Data.


    3
        United States Census Bureau, https://www.census.gov/
                                              -9-
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             19.    In Section VIII, I describe certain charts and tables that are
    attached to this report. In Section IX, I summarize my conclusions.

             20.    I continue to review documents and gather information and
    reserve the right to update my analysis and opinions based upon that further
    review of documents and based on any new information including, possibly,
    reports of other experts I may receive.


    V.       National ARCOS Data

             21.    ARCOS is the system through which manufacturers and
    distributors report transactions of controlled substances to the DEA.4 ARCOS
    Data covers all fifty states, the District of Columbia, Puerto Rico, Guam, U.S.
    Virgin Islands, American Samoa, and the Northern Mariana Islands, Armed
    Forces-Americas, Armed Forces-EMEA, Armed Forces-Pacific, and Palau.

                A. Receipt of ARCOS Data from the DEA
             22.    In the multi-district litigation, the DEA produced a set of
    ARCOS Data reflecting transactions in drug products containing one or more
    of fourteen drugs: buprenorphine, codeine, dihydrocodeine, fentanyl,
    hydrocodone,        hydromorphone,       levorphanol,    meperidine,     methadone,
    morphine, powdered opium, oxycodone, oxymorphone, and tapentadol from
    January 1, 2006 through December 31, 2014.

             23.    On or about April 20, 2018, the DEA produced ARCOS Data
    reflecting transactions in oxycodone, hydrocodone, hydromorphone, and
    fentanyl for six states: Alabama, Florida, Illinois, Michigan, Ohio, and West


    4
        www.deadiversion.usdoj.gov/arcos/index.html, accessed on 29 November 2018.
                                             - 10 -
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    Virginia. On or about May 20, 2018, the DEA produced transaction data for
    these four drugs for the remaining states. The May 20, 2018 production was
    missing pharmacy names and had some duplicate transactions and obvious
    errors. At my request, the DEA reproduced the May 20, 2018 data with
    pharmacy names and errors in the May 20, 2018 production largely corrected
    on or about June 5, 2018.

           24.         Additionally, the DEA produced ARCOS Data for all states for
    oxymorphone, tapentadol, buprenorphine, and morphine on or about July 6,
    2018; for codeine, dihydrocodeine, meperidine, and powdered opium on or
    about July 24, 2018; and for methadone and levorphanol on or about August
    28, 2018. The timing and amount of ARCOS Data produced by the DEA are
    summarized in Table 1. In total, the ARCOS Data has 500,709,803 transaction
    records – 444,819,182 transaction records involving Dispensers.

    Table 1 ARCOS Opioid Transaction Data Produced by DEA
                                                                          Transactions with Dispensers
                                 Drug   # of All           # of                       Dosage Calculated Base Calculated
        Drug Name                Code Transactions     Transactions   Dosage Units   Units %         Weight  Weight %
        Received June 5, 2018
        Hydrocodone              9193    189,611,242    174,829,777    74,285,510,348   53 04%    436,729,519    25 85%
        Oxycodone                9143    116,411,941    106,210,465    39,978,942,635   28 54%    494,278,594    29 25%
        Fentanyl                 9801     51,159,276     42,971,667       914,488,221    0 65%      8,096,158     0 48%
        Hydromorphone            9150     17,446,169     14,435,387     2,571,523,184    1 84%     15,161,478     0 90%
        Subtotal                         374,628,628    338,447,296   117,750,464,388   84.07%    954,265,749    56.48%

        Received July 6, 2018
        Morphine                 9300     49,243,546     39,880,848     6,365,919,333   4 55%     222,022,285    13 14%
        Buprenorphine            9064     26,275,507     24,153,401     1,857,399,214   1 33%     152,570,080     9 03%
        Oxymorphone              9652      6,033,613      5,008,054       633,293,763   0 45%      11,042,968     0 65%
        Tapentadol               9780      3,376,288      2,827,854       353,918,908   0 25%      28,776,260     1 70%
        Subtotal                          84,928,954     71,870,157     9,210,531,218   6.58%     414,411,593    24.53%

        Received July 24, 2018
        Codeine                  9050     17,644,740     14,728,585     5,904,595,163   4 22%     149,048,894     8 82%
        Meperidine               9230      6,069,787      4,439,671       296,424,349   0 21%      25,276,542     1 50%
        Dihydrocodeine           9120      1,150,066        762,778        47,182,023   0 03%       1,051,401     0 06%
        Opium, Powdered          9639        509,879        335,515         8,000,328   0 01%         383,634     0 02%
        Subtotal                          25,374,472     20,266,549     6,256,201,863   4.47%     175,760,471    10.40%

        Received August 28, 2018
        Methadone                9250     15,668,247     14,167,720     6,829,158,005   4 88%     145,228,224     8 59%
        Levorphanol              9220        109,502         67,460        14,402,593   0 01%          18,947     0 00%
        Subtotal                          15,777,749     14,235,180     6,843,560,598   4.89%     145,247,171     8.60%

        Total                            500,709,803    444,819,182   140,060,758,067 100.00%    1,689,684,984   100.00%


                                                               - 11 -
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              B. ARCOS Data Fields Produced by DEA
           25.    The ARCOS Data produced by the DEA has the 34 fields
    illustrated in Figure 1 for each transaction record. Twelve of the 34 fields are
    submitted with each transaction record by the Reporting Registrant, the DEA
    registered entity reporting the opioid shipment through ARCOS. These twelve
    fields are defined in the ARCOS Handbook.5 The remaining 22 fields were
    appended by the DEA to the transaction records submitted by the Reporting
    Registrant. 6 Eighteen of the 22 fields are information about the Reporting
    Registrant and the Associate Registrant, keyed off their DEA numbers.7 Three
    of the remaining four fields are either taken from the NDC (for National Drug
    Code) Dictionary or are calculated using variables therein and appear to have
    been imported by the DEA into the data it produced by matching each
    transaction’s NDC number with the NDC number in the NDC Dictionary.8

    Figure 1 ARCOS Data Fields Produced by DEA




    5
     “ARCOS Registrant Handbook,” Drug Enforcement Administration, August 1997
    (“ARCOS Handbook”). Current version available at
    www.deadiversion.usdoj.gov/arcos/handbook/full.pdf.
    6
     The 22 fields are Reporter Business Activity, Reporter Name (2 fields), Reporter Address
    (6 fields), Buyer Business Activity, Buyer Name (2 fields), and Buyer Address (6 fields),
    Drug Code, Drug Name, Calculated Base Weight in Grams, and Dosage Unit.
    7
     The 18 fields are Reporter Business Activity, Reporter Name (2 fields), Reporter Address
    (6 fields), Buyer Business Activity, Buyer Name (2 fields), and Buyer Address (6 fields).
    8
     Drug Code and Drug Name are both in the NDC Dictionary. Calculated Base Weight in
    Grams is calculated using Ingredient Base Weight in the NDC Dictionary and Quantity,
    Unit, and Strength in the ARCOS Data.
                                             - 12 -
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             26.    The first 10 fields provide information on the Reporting
    Registrant. The DEA identified these Reporter DEA numbers and associated
    fields as “Seller” fields and so, unless the context requires otherwise, I refer
    to the Reporting Registrant as the “Seller” and the associated fields as “Seller”
    fields. This information includes a Seller’s DEA Number, a description of the
    Seller’s Business Activity (primarily Manufacturer, Distributor or Reverse
    Distributor), Name and Address (6 fields).

             27.    The next 10 fields provide information on the Associate
    Registrant, typically a receiver of the opioid shipment.9 The DEA identified
    the Associate Registrant DEA numbers and associated fields as “Buyer” fields
    and so, unless the context requires otherwise, I refer to the Associate
    Registrant as the “Buyer” and the associated fields as “Buyer” fields. This
    information includes the Buyer’s DEA Number, a description of the Buyer’s
    Business Activity (primarily Distributor or Retail or Chain Pharmacy), Name
    and Address (6 fields).

             28.    The final 14 fields provide information about the transaction.
    This information includes Drug Name and Drug Code (e.g., 9143 for
    oxycodone products), NDC Number, Quantity, Unit, Strength, Dosage Unit,
    Calculated Base Weight in Grams, Transaction Code (e.g., whether the
    transaction was a Purchase or a Sale), Transaction Date, Transaction
    Identifier, Correction Number, Action Indicator, and Order Form Number.

                    1.   Seller DEA Number
             29.    The ARCOS Data produced by the DEA includes 1,506 distinct
    Seller DEA Numbers. Manufacturers and distributors typically have more

    9
        See, ARCOS Handbook at pp. 5-36 – 5-37.
                                            - 13 -
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    than one DEA number as each facility manufacturing or distributing
    controlled substances must have its own DEA number.10

                    2.   Seller Business Activity
             30.    The ARCOS Data lists one “Business Activity” for each Seller
    DEA Number. There are six distinct Seller Business Activities in the ARCOS
    Data:      Manufacturer,    Manufacturer   (Bulk),   Chemical   Manufacturer,
    Distributor, Chempack/SNS Distributor, and Reverse Distributor.

                    3.   Seller Name and Address
             31.    The ARCOS Data provides a business address for each Seller
    DEA Number, but there is not a one-to-one mapping between the addresses
    and the Seller DEA Numbers. Some Seller DEA Numbers are associated with
    multiple addresses, and some addresses are associated with more than one
    contemporaneous Seller DEA Number. Multiple Seller DEA Numbers can
    also be associated with the same address over time as locations are occupied
    by businesses newly registered with the DEA.

                    4.  Buyer DEA Number
             32.    The ARCOS Data includes 304,785 distinct Buyer DEA
    Numbers. 1,465 DEA numbers are listed as both Sellers and Buyers, although
    not in the same transaction.

                    5.   Buyer Business Activity
             33.    The ARCOS Data includes 54 distinct Buyer Business Activities
    including Manufacturer, Distributor, Reverse Distributor, Analytical Lab,
    Retail Pharmacy, Chain Pharmacy, Mail Order Pharmacy and Hospital/Clinic.
    Some Buyer DEA Numbers have more than one Buyer Business Activity.


    10
         See, ARCOS Handbook at 1-5.
                                         - 14 -
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                    6.   Buyer Name and Address
             34.    The ARCOS Data provides a business address for each Buyer
    DEA Number, but there is not a one-to-one mapping between the addresses
    and the Buyer DEA Numbers. Some Buyer DEA Numbers are associated with
    multiple addresses, and some addresses are associated with more than one
    contemporaneous Buyer DEA Number. Multiple Buyer DEA Numbers can
    also be associated with the same address over time as locations are occupied
    by businesses newly registered with the DEA.

                    7.    Transaction Codes
             35.    Each transaction record includes a code that identifies whether
    the transaction being reported increases or decreases the Reporter’s inventory
    of the drug. In my later analysis, I focus on transaction code “S” which denotes
    a transaction in which a drug is shipped from the Seller, typically a distributor,
    to a Buyer, typically a pharmacy. Appendix 3 reports the percentage of
    transactions in the ARCOS Data in each Transaction Code and provides the
    ARCOS Handbook description.11




    11
         ARCOS Handbook §5.4.3, p. 5-7.
                                          - 15 -
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                     8.   Drug Code and Drug Name
            36.      The Drug Code is a four digit Administration Controlled
    Substance Code Number common to each controlled substance or basic class
    thereof. 12 For instance, whether delivered through skin patches or nasal
    sprays, fentanyl transactions are identified by the Drug Code 9801 and
    whether formed in 5 mg or 20 mg tablets, oxycodone transactions are
    identified with the Drug Code 9143. See Table 2.

    Table 2 Drug Codes and Drug Names in the ARCOS Data
         Sorted by Drug Name          Sorted by Drug Code
    Drug Code       Drug Name      Drug Code     Drug Name
          9064    Buprenorphine         9050   Codeine
          9050    Codeine               9064   Buprenorphine
          9120    Dihydrocodeine        9120   Dihydrocodeine
          9801    Fentanyl              9143   Oxycodone
          9193    Hydrocodone           9150   Hydromorphone
          9150    Hydromorphone         9193   Hydrocodone
          9220    Levorphanol           9220   Levorphanol
          9230    Meperidine            9230   Meperidine
          9250    Methadone             9250   Methadone
          9300    Morphine              9300   Morphine
          9639    Opium                 9639   Opium
          9143    Oxycodone             9652   Oxymorphone
          9652    Oxymorphone           9780   Tapentadol
          9780    Tapentadol            9801   Fentanyl


                     9.   National Drug Code
            37.      Drug packages are uniquely identified in the ARCOS Data by a
    National Drug Code, or NDC. The NDC has three segments, which identify
    the drug product’s manufacturer or distributor, active ingredient, strength and
    formulation of the product, and the package size.13 For example, 00603-3882-

    12
       See, Controlled Substances by DEA Drug Code Number, Current version available at
    https://www.deadiversion.usdoj.gov/schedules/orangebook/d_cs_drugcode.pdf; see also,
    21 CFR 1308.03.
    13
      “NDC Dictionary Instructions,” Drug Enforcement Administration, October 2010.
    Current version available at https://www.deadiversion.usdoj.gov/arcos/ndc/readme.txt.
                                               - 16 -
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    28 identifies Par Pharmaceutical manufactured 7.5 mg hydrocodone / 500 mg
    acetaminophen tablets in packages of 30. NDCs ending in “**” identify bulk
    packages of the drug identified by the first 9 digits of the NDC.

             38.    There are 23,280 unique NDCs in the ARCOS Data. The
    controlled substances in each drug product are identified by a separate Drug
    Code.

                    10.   Quantity
             39.    Quantity is the number of packages, weight or volume reported
    in the transaction.14 A package can take many different forms, including a
    bottle of pills, a bottle of liquid, a box containing multiple bottles of drug
    product, a container of bulk drug powder, a box of skin patches, or a larger
    box containing smaller boxes of skin patches.15




    14
         ARCOS Handbook § 5.11.1 p., 5-30.
    15
         ARCOS Handbook § 5.11.
                                             - 17 -
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                    11.   Unit
             40.    The Unit code identifies the unit of measurement for the Quantity
    field. It is used with the Quantity and Strength fields to determine the amount
    of drug in a transaction.16 The Unit codes 1, 2, 3 and 4 specify weight units
    from micrograms to kilograms.17 See Table 3.

    Table 3 Unit of Measurement Codes
          Unit     Measurement
           1       Micrograms
           2       Milligrams
           3       Grams
           4       Kilograms
           5       Milliliters
           6       Liters
           D       Dozens
           K       Thousands

                    12. Action Indicator
             41.    The Action Indicator field is either blank or coded D (for delete),
    A (for adjust) or I (for insert). The Reporter uses transactions coded D to
    report to the DEA that a previously reported incorrect transaction should be
    deleted. The Reporter uses transactions coded A to report that a previously
    reported incorrect transaction should be revised to reflect updated information
    in the current record. That is, that the previously reported transaction should
    be replaced with the current transaction record coded A. The Reporter uses




    16
         ARCOS Handbook § 5.12.1, p. 5-33.
    17
       Since there are 1 billion micrograms in a kilogram, a transaction coded with a 4 in the
    Unit field when the Quantity field assumes the Units are micrograms will have a Quantity
    that is 1 billion times too large. Some of the errors in the ARCOS Data appear to result
    from incorrect Unit codes being entered by the Reporting Registrant into ARCOS.
                                             - 18 -
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    transactions coded I to report transactions which should have been reported in
    a previous month but were not and so are being reported late.18

                    13.  Order Form Number
             42.    The Order Form Number identifies a batch of one or more
    transactions submitted through ARCOS.19

                    14.   Correction Number
             43.    The Correction Number identifies a correction transaction which
    replaces a previously submitted transaction that had been rejected by
    ARCOS.20

                    15.    Strength
             44.    Strength reports the purity of bulk raw material in a transaction,
    relative to the purity of the NDC, in hundredths of a percentage point. Strength
    can also refer to the amount by which a quantity of one in the transaction falls
    short of or exceeds the standard size package of the NDC.21

                    16.   Transaction Date
             45.    Transaction Date is the date a shipment occurred, not the date an
    order was placed by the Buyer or received by the Seller or the date of some
    other activity.22

                    17.  Calculated Base Weight in Grams
             46.    The Calculated Base Weight in Grams is the total active
    ingredient weight, in grams, of a drug in the reported transaction. The

    18
         ARCOS Handbook §5.9.2, p. 5-20 and §7.5, p. 7-12.
    19
         ARCOS Handbook §5.14.1, p. 5-38 and §5.14.3, p. 5-40.
    20
         ARCOS Handbook, §5.16, p. 5-42.
    21
         ARCOS Handbook, §5.17, p. 5-43.
    22
         ARCOS Handbook, §5.15.1, p. 5-40.
                                             - 19 -
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    Calculated Base Weight in Grams in the ARCOS Data produced by the DEA
    was not reported by the Sellers. Rather, it was calculated by the DEA and
    appended (along with information about the Buyer and the Seller, the Drug
    Code, the Drug Name, and the Dosage Units) by the DEA before the data was
    produced. As explained in Appendix 2, I verify the Calculated Base Weight
    in Grams for each transaction using the NDC Dictionary.

                    18.   Dosage Units
             47.    Dosage Units is the number of packages in the transaction,
    multiplied by the number of discrete individual drug products (e.g., pills,
    patches, lozenges) in each package. Dosage Unit is only populated if the drug
    product is delivered as a capsule, tablet, film, suppository, patch, lollipop, or
    lozenge. The Dosage Unit in the ARCOS Data was not reported by the Sellers.
    Rather, it was calculated by the DEA and appended by the DEA before the
    data was produced to us. As explained later in this report, I verify Dosage
    Units for each transaction using the NDC Dictionary.

                    19.  Transaction ID
             48.    The Transaction ID uniquely identifies the transactions
    submitted by each Seller each month.23 Each Seller restarts the Transaction
    ID each month at 1. For example, a Seller submitting 33, 41 and 17
    transactions over a three-month period would submit transactions numbered
    1 to 33 the first month, 1 to 41 the second month and 1 to 17 the third month.
    A later correction, adjustment or deletion should have the same Transaction
    ID as the record being corrected, adjusted or deleted. A late transaction uses
    the next available Transaction ID for the month in which the transaction


    23
         ARCOS Handbook, §5.18, pp. 5-46 through 5-47.
                                            - 20 -
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    should have been reported, not a Transaction ID for the month in which the
    late transaction is being reported.

                C. Supplementing the ARCOS Data
             49.    I added several fields to the ARCOS Data to assist in my
    analysis. The fields are drug Labeler names from the FDA, drug Labeler
    company families, Seller company families, drug product potency
    information from the CDC’s Morphine Milligram Equivalents (MME)
    conversion table, and Buyer business activities from the Centers for Medicare
    and Medicaid Services.

                    1.   Drug Labeler
             50.    The ARCOS Data includes the Seller name but not the Labeler
    name. As explained by the DEA, “A Labeler is any firm that manufacturers,
    distributes or repacks/relabels a drug product.”24 The Labeler is identified in
    the first segment of the NDC. The FDA, which assigns the Labeler identifier
    used in the NDC, maintains a public list of Labeler identifiers and their
    associated companies. I used the FDA’s list of drug Labelers to add the names
    of the drug Labelers to the ARCOS Data.25

             51.    After adding Labeler names, I manually reviewed the names and
    grouped them into company families. For example, I assigned “Teva
    Pharmaceuticals USA, Inc.” and “Teva Parenteral Medicines, Inc.” to the
    same “Teva” company family.



    24
         NDC Dictionary Instructions. See also, ARCOS Handbook, §6.1.2.1, p. 6-2.
    25
      NDC/NHRIC Labeler Codes,” U.S. Food & Drug Administration. Available at
    www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeling/ucm191017.htm.
                                              - 21 -
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                  2.   MME Conversion Factor
           52.    Because each drug can be prescribed in more than one dosage
    strength (e.g., 5 mg or 10 mg), compiling only the number of pills shipped
    provides a partial picture of the number of drugs shipped. Also, since different
    drugs can have different potencies, compiling only the total weight of active
    ingredient shipped also provides a partial picture of the number of drugs
    shipped.

           53.    The CDC has published “MME conversion factors” that allow
    opioids to be directly comparable to one another by converting different drugs
    and dosage strengths into morphine milligram equivalents. 26 I added the
    MME conversion factor to the ARCOS Data, matching the NDC in the CDC
    table to the NDC in the ARCOS Data.

                  3.    Additional Pharmacy Information
           54.    I supplemented the Buyer Business Activity field with data from
    the Centers for Medicare and Medicaid Services, which assigns National
    Provider Identifiers (“NPIs”) to most covered health care providers in the
    United States. In addition to assigning and tracking NPIs, the Centers for
    Medicare and Medicaid Services provides a classification of Buyers’ Business
    Activities that is more detailed than the classification in the ARCOS Data,
    allowing me to better identify mail-order pharmacies, long-term care
    pharmacies, and managed care pharmacies. I used the Buyer Name and



    26
       National Center for Injury Prevention and Control. CDC compilation of
    benzodiazepines, muscle relaxants, stimulants, zolpidem, and opioid analgesics with oral
    morphine milligram equivalent conversion factors, 2018 version. Atlanta, GA: Centers for
    Disease       Control       and        Prevention;       2018.        Available       at
    www.cdc.gov/drugoverdose/resources/data.html.
                                            - 22 -
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    Address in the ARCOS Data to look up each Buyer in the NPI database.27 I
    used the NPI database to identify mail-order, long-term care and managed
    care pharmacies, but I otherwise relied on the Buyer Business Activity in the
    ARCOS Data.

                D. Exclusions and Corrections to ARCOS Data
             55.    The ARCOS Data is composed of transactions, or shipments, of
    opioids between various entities. Table 4 summarizes the number of
    transactions, the total Dosage Units, and the total Calculated Base Weight in
    Grams transacted between various types of entities as reflected in the ARCOS
    data I received.




    27
         NPI database.
                                         - 23 -
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    Table 4 ARCOS Transactions, Grouped by Transaction Participant
                                       # of                                     Dosage       Calculated       Calculated
                                   Transactions      %        Dosage Units      Units %     Base Weight       Weight %
    Shipments to Dispensers
     from Manufacturers                2,762,706     0.55%      1,963,746,971     0.18%         37,570,470         0.00%
     from Distributors               422,984,879    84.48%    134,013,039,950    12.07%      1,444,335,948         0.13%
     from Reverse Distributors             2,253     0.00%            687,343     0.00%             22,300         0.00%
    Total to Dispensers              425,749,838    85.03%    135,977,474,264    12.25%      1,481,928,717         0.13%
    Shipments to Distributors
     from Manufacturers                1,550,685    0.31%     291,953,694,524    26.30%      3,179,271,563         0.29%
     from Distributors                24,798,146    4.95%     350,052,547,710    31.53%      3,606,767,355         0.33%
     from Reverse Distributors         1,327,210    0.27%         107,448,095     0.01%          1,506,287         0.00%
     from Dispensers                   2,285,969    0.46%         632,110,738     0.06%          6,866,875         0.00%
     from Analytical Labs                  1,198    0.00%          43,046,052     0.00%            611,594         0.00%
     from Other Buyers                    40,128    0.01%       1,014,177,881     0.09%          8,865,834         0.00%
    Total to Distributors             30,003,336    5.99%     643,803,024,999    57.99%      6,803,889,509         0.62%
    Shipments to Manufacturers
     from Manufacturers                  151,021    0.03%      97,475,133,509     8.78%      8,778,096,383         0.80%
     from Distributors                   226,226    0.05%      12,083,288,652     1.09%         94,142,768         0.01%
     from Reverse Distributors           110,312    0.02%       2,392,297,817     0.22%         11,910,069         0.00%
     from Dispensers                      40,899    0.01%       1,875,916,549     0.17%         13,588,120         0.00%
     from Analytical Labs                  7,807    0.00%         223,368,384     0.02%          2,195,824         0.00%
     from Other Buyers                     3,045    0.00%          37,359,432     0.00%         66,828,227         0.01%
    Total to Manufacturers               539,310    0.11%     114,087,364,343    10.28%      8,966,761,391         0.81%
    Shipments to Reverse Distributors
     from Manufacturers                 697,001     0.14%     105,770,466,624     9.53%    512,315,637,438       46.56%
     from Distributors                1,669,040     0.33%       3,020,403,832     0.27%         42,645,345        0.00%
     from Reverse Distributors        5,781,563     1.15%         469,806,226     0.04%          9,848,999        0.00%
     from Dispensers                 16,738,061     3.34%       1,562,427,349     0.14%        187,184,003        0.02%
     from Analytical Labs                64,158     0.01%         127,606,571     0.01%     30,334,732,147        2.76%
     from Other Buyers                   16,643     0.00%          84,150,318     0.01%        270,182,657        0.02%
    Total to Reverse Distributors    24,966,466     4.99%     111,034,860,921    10.00%    543,160,230,589       49.36%
    Shipments to Analytical Labs
     from Manufacturers                  167,272    0.03%         745,098,504     0.07%        215,457,334        0.02%
     from Distributors                    14,228    0.00%         115,326,842     0.01%          2,420,568        0.00%
     from Reverse Distributors        19,195,712    3.83%     102,987,574,384     9.28%    539,621,113,047       49.04%
    Total to Analytical Labs          19,377,212    3.87%     103,847,999,730     9.35%    539,838,990,949       49.06%
    Shipments to Other Buyers
     from Manufacturers                   20,501    0.00%         658,932,070     0.06%         80,325,531         0.01%
     from Distributors                    38,625    0.01%         697,580,301     0.06%         10,941,320         0.00%
     from Reverse Distributors             8,938    0.00%           1,181,695     0.00%             36,084         0.00%
    Total to Other Buyers                 68,064    0.01%       1,357,694,066     0.12%         91,302,935         0.01%
    Shipments Lost in Transit
     from Manufacturers                       106   0.00%           7,191,204     0.00%             94,303         0.00%
     from Distributors                      4,809   0.00%          89,721,403     0.01%            572,751         0.00%
     from Reverse Distributors                662   0.00%              55,064     0.00%              1,071         0.00%
    Total Lost in Transit                   5,577   0.00%          96,967,670     0.01%            668,125         0.00%

    Total                            500,709,803 100.00%     1,110,205,385,993 100.00%    1,100,343,772,214     100.00%



              56.         85.03% of transactions reported in the ARCOS Data involve
    shipments to Buyers whose Business Activity suggests they dispense drugs to


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    patients. I call these Buyers “Dispensers.”        28
                                                            3.8% of transactions involve
    shipments from Dispensers back to manufacturers or distributors. 29 5.99% of
    transactions reported in the ARCOS Data involve shipments to Distributors.
    The number of transactions from Manufacturers to Distributors is small
    relative to the number of transactions from Distributors to Distributors but the
    Dosage Units and Calculated Based Weight in Grams is similar.

           57.    Table 4 is not entirely informative of the actual flow of opioids
    because some transactions reported by Reverse Distributors (“from
    Manufacturers” and “to Analytical Labs”) have incorrect Dosage Units and
    Calculated Base Weights in Grams. I do not use these Reverse Distributor
    transactions in the analysis I present below.

           58.    Only 0.03% of transactions are shipments to or from importers,
    exporters, or researchers (“Other Buyers”). 30

           59.    I removed seven types of transactions from the ARCOS Data
    before conducting further analysis:

             • Obvious duplicate transactions, when the same transaction was
                 reported to ARCOS more than once by the same registrant.




    28
      I include the following Buyer Business Activities as Dispensers: any Buyer Business
    Activity beginning with “MLP”; any Buyer Business Activity containing “PHARMACY”,
    “PRACTITIONER”, “CLINIC”, “MAINT” or “DETOX”; and “AUTOMATED
    DISPENSING SYSTEM”, “CANINE HANDLER”, and “TEACHING INSTITUTION.”
    29
      I include the following Buyer Business Activities as manufacturers or distributors: any
    Buyer Business Activity containing “MANUF” or “DISTRIB.”
    30
      Other Buyers have Buyer Business Activity containing “IMPORT”, “EXPORT”, or
    “RESEARCHER.”
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             • Transactions where the Drug Code from the NDC Dictionary is
                 not one of the 14 opioids listed in Table 1.

             • Transactions where the Action Indicator code, Correction
                 Number, or both suggest the reported transaction is erroneous.

             • Transactions involving reverse distributors, analytical labs,
                 importers, exporters, or researchers.

             • Transactions reported by the registrant receiving the shipment
                 when two registrants reported the same transaction, keeping the
                 transaction reported by the registrant sending the shipment.

             • Transactions with obvious errors in the reported Quantity.

             • Transactions where the Transaction Code is “X” (Lost-in-Transit.)

           60.     I also corrected the Calculated Base Weight In Grams when it
    was calculated using an incorrect Ingredient Base Weight from the NDC
    Dictionary. Appendix 2 provides a detailed explanation of these exclusions
    and corrections.

              E. Comparing ARCOS Data to Retail Drug Summary Reports
           61.     The DEA publishes six ARCOS Retail Drug Summary Reports
    (“RDSR”) each year, which summarize the weight of opioids reported in
    ARCOS transactions by various combinations of Drug Code, Calendar
    Quarter, Buyer State, Buyer Zip Code, or Buyer’s business activity. 31 The


    31
      The six summary reports are updated on an ad hoc basis. The DEA website states that
    the summary reports are “susceptible to future updates and corrections, without notice, as
    new information is obtained”
    (www.deadiversion.usdoj.gov/arcos/retail_drug_summary/index.html).
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    least aggregated Retail Drug Summary Report, Report 1, aggregates opioid
    weight by quadruples of Drug Code, Calendar Quarter, Buyer’s State, and the
    first three digits of the Buyer’s Zip Code. As a check on my procedures for
    correcting the ARCOS Data, I compared the corrected ARCOS Data to
    ARCOS Retail Drug Summary Report 1.

              62.    I calculated the total Calculated Base Weight in Grams in the
    corrected ARCOS Data for each Drug Code, Calendar Quarter, Buyer’s State,
    and three-digit Buyer’s Zip Code. I then compared the weights I calculated to
    the weights reported in ARCOS Retail Drug Summary Report 1.32

              63.    There are 409,061 Drug Code/Calendar Quarter/State/3-digit zip
    code quadruples in either the ARCOS Data or the RDSR dataset. 408,389 of
    these observations are in both datasets, 457 are only in the ARCOS Data and
    215 are only in the RDSR data. See Table 5.

              64.    The 457 observations that are in the ARCOS Data but not in the
    RDSRs have a total Calculated Base Weight in Grams of 217,068 grams.
    216,544 grams (99.8%) of the 217,068 grams are from zip code 851** in
    Arizona.33 The RDSRs do not report any weights for zip code 851** in 2006
    and 2007, even though there are shipments to Buyers in this zip code in 2006
    and 2007 in the ARCOS Data and the RDSRs closely match the ARCOS data
    for 851** after 2007. Other than the observations Retail Drug Summary
    Report 1 is missing for zip code 851** in 2006 and 2007, only 3,231 grams


    32
      I compared the weights for all quadruples created using all 14 Drug Codes in the ARCOS
    Data, every calendar quarter from 2006 through 2014, and all 50 states, the District of
    Columbia, Puerto Rico, American Samoa, and the Virgin Islands.
    33
         109 of the 457 transactions are from zip code 851** in Arizona.
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    are in observations where there is not some data in both the ARCOS Data and
    RDSRs out of 1.4 billion grams.

    Table 5 Comparison Corrected ARCOS Data and RDSR
                         Drug Code/Quarter/State/            Drug Code/Quarter/State/   Drug Code/Quarter/State/
                    3-digit Zip Codes in Both Datasets      Zip Codes in ARCOS Only     Zip Codes in RDSR Only
                                Weight of      Weight of
                               Base Drug      Base Drug                  Weight of                  Weight of
    Drug Code       N           (ARCOS)         (RDSR)         N         Base Drug        N         Base Drug
          9780    21,175        27,832,183     27,836,251      0             0            1             8
         9220L    13,821           17,098         16,555       26            64           27            20
          9639    30,138          312,322      5,549,118       11            21           34            81
          9064    31,923        13,056,340     12,949,923      34           403           5             6
          9801    32,116         4,383,862     4,266,080       12           501           12            7
          9652    31,287        11,059,802     10,638,657      12           583           13            46
          9120    23,214          755,277        746,160      299           590           42            69
          9150    32,042        12,838,084     12,899,632      8            930           6             8
          9230    32,049        22,785,269     23,105,649      11          4,407          11           147
          9050    32,155       140,440,556    149,474,318      8           24,695         13           138
         9250B    32,075       133,963,921    134,698,794      8           11,505         9             78
          9193    32,164       337,565,862    340,741,300      10          41,620         16          1,342
          9300    32,111       195,236,784    195,377,422      10          54,031         13           456
          9143    32,119       489,503,746    490,414,951      8           77,718         13           302
         Total   408,389 1,389,751,107 1,408,714,811          457         217,068        215          2,707


           65.      It is possible that both the ARCOS Data and the RDSRs have
    drug weights, but the weights differ between the ARCOS Data and the RDSRs
    data. To test this possibility, I calculate the ratio of the weight of each drug,
    each quarter, each state and 3-digit zip code reported in the RDSRs to the
    weights I calculated from the ARCOS transactions for the observations in both
    the RDSRs and the ARCOS transactions. A ratio of 1 (less than 1, more than
    1) means the RDSRs summary weights equal (are less than, are more than)
    the weights I aggregate up to using the ARCOS transaction data.

           66.      Table 6 reports the results of this test of the ARCOS Data.
    270,300 or 66.2% of the 408,389 Drug Code/Quarter/State/3-digit zip code
    quadruple observations in both ARCOS and the RDSRs have ratios between
    0.995 and 1.005. That is, 2/3rds of the observations have RDSRs reported
    summary weights within 0.5% of the weights I aggregate up from the ARCOS
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    transaction data. 72.4% of the observations have RDSRs reported summary
    weights within 1.0% of the weights I aggregate up from the processed ARCOS
    transaction data.

          67.       The RDSRs confirm the accuracy of the ARCOS Data I received.
    The correlation between the RDSRs’ reported drug weight and the weights I
    calculate from the ARCOS Data is 0.999 on a scale from -1.00 to +1.00.

    Table 6 Ratios of Retail Drug Summary Report and ARCOS Drug Weights
                                 1st        5th       25th       50th       75th       95th       99th
    Drug Code      N     N(%) Percentile Percentile Percentile Percentile Percentile Percentile Percentile
       9050      32,155  7.9%    0.97       1.01       1.04       1.07       1.11       1.20       1.32
       9064      31,923  7.8%    0.76       0.92       1.00       1.00       1.00       1.02       1.09
       9120      23,214  5.7%    0.00       0.71       1.00       1.00       1.00       1.01       1.19
       9143      32,119  7.9%    0.90       0.97       1.00       1.00       1.00       1.02       1.11
       9150      32,042  7.8%    0.82       0.97       1.00       1.00       1.00       1.03       1.28
       9193      32,164  7.9%    0.89       0.98       1.00       1.00       1.00       1.04       1.35
      9220L      13,821  3.4%    0.93       0.93       0.99       1.00       1.00       1.03       1.03
       9230      32,049  7.8%    0.89       0.98       1.00       1.00       1.01       1.12       1.37
      9250B      32,075  7.9%    0.86       0.99       1.00       1.00       1.00       1.02       1.30
       9300      32,111  7.9%    0.88       0.98       1.00       1.00       1.00       1.03       1.17
       9639      30,138  7.4%    0.91       1.00       1.00       1.00       1.00       1.00       1.06
       9652      31,287  7.7%    0.75       0.94       1.00       1.00       1.00       1.00       1.10
       9780      21,175  5.2%    0.93       1.00       1.00       1.00       1.00       1.00       1.07
       9801      32,116  7.9%    0.84       0.95       0.98       1.00       1.00       1.06       1.31
      Total     408,389 100.0%  0.81       0.96       1.00       1.00       1.00       1.09       1.24


                F. Shipments to Dispensers in ARCOS Data
          68.       Table 7 summarizes the shipments to Dispensers in the ARCOS
    Data, grouped by the Reporter’s Business Activity. Distributors account for
    98.6% of Dosage Units, 97.9% of Calculated Base Weight in Grams and
    97.9% of MME shipped to Dispensers. Manufacturers account for the
    remaining 1.4% of Dosage Units, 2.1% of Calculated Base Weight in Grams
    and 2.1% of MME shipped to Dispensers.




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    Table 7 Transactions in the ARCOS Data by Reporter’s Business Activity
                                                                            Dosage        Calculated Calculated
    Reporter Business Activity       Transactions        Dosage Units       Units %      Base Weight Weight %                 MME             MME %
    Distributor                        421,688,737      133,696,183,474      98.56%      1,356,774,602       97.93%     2,680,939,090,026      97.90%
    Manufacturer                         2,756,345        1,955,463,856       1.44%         28,614,923        2.07%        57,352,346,163        2.09%
    Manufacturer (Bulk)                         236                     0     0.00%             24,138        0.00%           109,124,308        0.00%
    Chempack/Sns Distributor                      5                 3,100     0.00%                  12       0.00%                 12,108       0.00%
    Chemical Manufacturer                        13                  100      0.00%                   1       0.00%                   1,535      0.00%

    Total                              424,445,336      135,651,650,530 100.00%          1,385,413,675     100.00%      2,738,400,574,140 100.00%



                  69.       Table 8 summarizes the same shipments to Dispensers, grouped
    by Buyer’s Business Activity. Chain and retail pharmacies received 90% of
    Dosage Units and 81.0% of MME.

    Table 8 Transactions in the ARCOS Data by Buyer’s Business Activity
                                                                             Dosage        Calculated Calculated
    Buyer Business Activity              Transactions      Dosage Units      Units %      Base Weight Weight %                 MME            MME %
    Chain Pharmacy                        246,993,756      73,846,902,224      54 44%       666,098,190       48 08%     1,233,742,133,114      45 05%
    Retail Pharmacy                       140,928,109      48,183,196,197      35 52%       513,421,684       37 06%       984,595,895,476      35 96%
    Maint & Detox                             470,511         272,879,042       0 20%        54,709,104        3 95%       206,582,513,676       7 54%
    Hospital/Clinic                        27,089,943       4,435,827,523       3 27%        47,571,404        3 43%        95,242,525,192       3 48%
    Hosp/Clinic-VA                          2,053,498       3,146,704,703       2 32%        30,723,236        2 22%        55,414,503,916       2 02%
    Comp/Maint/Detox                           13,065          66,181,228       0 05%        12,379,759        0 89%        47,864,583,656       1 75%
    M/O Pharmacy                            1,015,020       2,068,917,079       1 53%        22,736,201        1 64%        40,193,271,544       1 47%
    Maintenance                                34,551          60,050,461       0 04%         9,232,603        0 67%        37,399,070,506       1 37%
    Practitioner                            4,365,300         688,149,212       0 51%         7,234,690        0 52%        10,911,646,458       0 40%
    Pharmacy - Fed                             36,783       1,766,946,083       1 30%        11,013,648        0 79%         7,505,331,082       0 27%
    Hosp/Clinic- Mil                          455,482         565,110,433       0 42%         4,305,257        0 31%         6,314,893,792       0 23%
    Practitioner-DW/100                       173,678          72,404,042       0 05%           880,718        0 06%         3,189,084,906       0 12%
    Hosp/Clinic Fed                           252,979         197,583,781       0 15%         1,892,015        0 14%         2,282,801,280       0 08%
    Compound/Maint                              1,286           2,521,190       0 00%           581,802        0 04%         2,119,819,133       0 08%
    Practitioner-DW/30                        142,702          81,329,236       0 06%         1,134,323        0 08%         2,024,621,648       0 07%
    Central Fill Pharmacy                     177,455         158,835,097       0 12%         1,062,841        0 08%         1,432,551,008       0 05%
    Practitioner-DW/275                        78,406          14,434,889       0 01%           156,531        0 01%         1,041,776,185       0 04%
    Other*                                    162,812          23,678,110       0 02%           279,668        0 02%           543,551,549       0 02%

    Total                                 424,445,336     135,651,650,530 100.00%         1,385,413,675     100.00%      2,738,400,574,122 100.00%

    * Each of the following Buyer Business Activities account for 0 01% or less of Dosage Units, Calculated Base Weight, and MME: Automated Dispensing
    System, Canine Handler, Chain Hosp/Clinic, Compound/Detox, Detoxification, MLP-Ambulance Service, MLP-Animal Shelter, MLP-Dept Of State,
    MLP-Euthanasia Technician, MLP-Military, MLP-Naturopathic Physician, MLP-Nurse Practitioner, MLP-Nurse Practitioner-DW/100, MLP-Nurse
    Practitioner-DW/30, MLP-Optometrist, MLP-Physician Assistant, MLP-Physician Assistant-DW/100, MLP-Physician Assistant-DW/30, MLP-
    Registered Pharmacist, Pharmacy- Mil, Practitioner-Military, and Teaching Institution



                  70.       Table 9 summarizes the shipments to Dispensers reported in the
    ARCOS Data, by Drug Name sorted by MME. I separate the two treatment
    drugs - methadone and buprenorphine – from the other twelve opioids. 81.8%

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    of the Dosage Units, 59.6% of the drug weight and 39.0% of the MME are in
    hydrocodone and oxycodone transactions. Fentanyl’s ranking by MME is
    much higher than its ranking by Dosage Units and Calculated Base Weight
    because of fentanyl’s extraordinary potency.

    Table 9 Dispenser Transactions in the ARCOS Data, by Drug Name
                          # of                         Dosage     Calculated Calculated
    Drug Name         Transactions   Dosage Units      Units %   Base Weight Weight %           MME            MME %
    Oxycodone          102,506,041    39,443,630,888    29.08%      487,790,154    35.21%    731,685,231,566    26.72%
    Fentanyl            40,394,370       827,665,591     0.61%        4,254,573     0.31%    429,748,696,115    15.69%
    Hydrocodone        169,213,326    71,498,484,824    52.71%      337,372,776    24.35%    337,372,775,584    12.32%
    Morphine            36,462,788     6,160,024,567     4.54%      194,933,834    14.07%    194,933,833,974     7.12%
    Hydromorphone       13,585,979     2,508,943,791     1.85%       12,802,431     0.92%     51,209,722,227     1.87%
    Oxymorphone          4,680,598       603,913,954     0.45%       10,692,502     0.77%     32,077,506,313     1.17%
    Codeine             13,527,178     5,544,062,787     4.09%      139,874,124    10.10%     20,981,118,649     0.77%
    Tapentadol           2,683,189       341,800,982     0.25%       27,775,137     2.00%     11,110,054,972     0.41%
    Meperidine           3,714,651       277,898,650     0.20%       22,431,778     1.62%      2,243,177,782     0.08%
    Opium, Powdered        256,128         6,413,324     0.00%          311,913     0.02%        311,912,513     0.01%
    Dihydrocodeine         577,799        35,923,889     0.03%          742,597     0.05%        185,649,366     0.01%
    Levorphanol             52,699        12,966,499     0.01%           16,690     0.00%        183,588,300     0.01%

    Buprenorphine       23,135,402     1,798,787,322     1.33%       12,952,085     0.93%    393,584,618,696    14.37%
    Methadone           13,655,188     6,591,133,464     4.86%      133,463,081     9.63%    532,772,688,062    19.46%

    Total              424,445,336   135,651,650,530 100.00%     1,385,413,675    100.00%   2,738,400,574,120 100.00%



             71.        The distribution of shipments to Dispensers reported in the
    ARCOS Data by the Buyer’s State is presented in Table 10. Dispensers in
    California received the most Dosage Units, Calculated Base Weight in Grams
    and MME of any state, followed by Florida, New York, Pennsylvania, Texas
    and Ohio. These six states account for a little more than 36% of the opioid
    shipments by Dosage Units, by Calculated Base Weight in Grams and by
    MME.




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                  72.        States at the top of Table 10 are also the most populous states so
    the last two columns list the states’ average annual MME per capita and
    ranking by average MME per capita over the 2006-2014 period. I have
    highlighted in bold the top 10 states by average annual MME per capita.

    Table 10 Transactions by Buyer’s State
                                                                      Calculated                                          Annual MME MME Per
    Buyer State            Transactions   Dosage Units      %        Base Weight     %           MME             %         per Capita Capita Rank

    California               34,116,345    14,265,132,224   10 52%     144,147,037   10 40%    246,864,541,563   9 01%           734 8         43
    Florida                  27,628,426     9,099,330,210    6.71%     118,357,248    8.54%    226,144,996,345   8.26%         1,333.3          9
    New York                 20,740,851     5,966,272,302    4 40%      73,009,828    5 27%    172,892,443,895   6 31%           990 0         28
    Pennsylvania             19,606,575     5,665,746,405    4 18%      64,932,734    4 69%    148,534,872,481   5 42%         1,298 4         13
    Texas                    27,614,019     8,737,945,396    6 44%      71,856,185    5 19%    129,487,655,984   4 73%           570 0         48
    Ohio                     17,248,190     5,806,957,336    4 28%      54,539,897    3 94%    111,223,947,220   4 06%         1,071 0         23
    Tennessee                13,686,994     5,993,947,214    4.42%      57,448,467    4.15%    102,641,656,039   3.75%         1,794.3          1
    Michigan                 15,665,617     5,094,496,732    3 76%      50,508,260    3 65%     91,323,801,371   3 33%         1,027 4         25
    North Carolina           15,654,076     4,441,013,844    3 27%      42,677,459    3 08%     87,372,100,437   3 19%         1,014 0         26
    New Jersey               10,342,159     2,589,817,832    1 91%      36,888,703    2 66%     83,481,448,017   3 05%         1,053 6         24
    Georgia                  14,464,310     3,802,194,109    2 80%      37,640,793    2 72%     75,391,358,665   2 75%           862 5         36
    Massachusetts             7,058,475     2,379,990,293    1 75%      26,492,427    1 91%     71,981,327,783   2 63%         1,218 3         17
    Illinois                 12,612,003     3,823,214,843    2 82%      34,861,504    2 52%     67,936,505,921   2 48%           587 8         47
    Maryland                  7,629,534     2,146,560,799    1 58%      28,424,966    2 05%     66,106,984,483   2 41%         1,269 0         14
    Washington               10,156,644     3,498,898,375    2 58%      32,581,129    2 35%     65,420,242,836   2 39%         1,078 3         22
    Arizona                   9,178,310     3,273,706,576    2 41%      37,735,956    2 72%     64,285,967,929   2 35%         1,114 9         19
    Indiana                  10,773,851     3,521,917,055    2 60%      31,448,358    2 27%     64,109,285,889   2 34%         1,097 6         21
    Alabama                   9,959,358     2,963,633,101    2.18%      28,990,594    2.09%     57,270,835,531   2.09%         1,329.7         10
    Virginia                 10,171,929     2,872,487,719    2 12%      27,961,583    2 02%     56,413,488,176   2 06%           781 1         40
    Kentucky                  8,671,161     2,947,906,562    2.17%      24,361,382    1.76%     52,374,434,100   1.91%         1,338.4          7
    Missouri                 10,022,961     2,941,804,636    2 17%      28,621,758    2 07%     51,080,051,512   1 87%           946 6         31
    Louisiana                 7,758,253     2,227,529,349    1 64%      21,955,349    1 58%     46,554,530,799   1 70%         1,138 1         18
    Wisconsin                 8,457,886     2,278,805,560    1 68%      22,941,012    1 66%     45,620,840,529   1 67%           890 8         34
    Oregon                    6,501,855     2,456,823,189    1 81%      23,192,996    1 67%     45,160,716,051   1 65%         1,307 7         11
    Connecticut               4,679,646     1,219,237,554    0 90%      16,840,541    1 22%     42,067,293,465   1 54%         1,305 6         12
    Oklahoma                  7,754,529     2,347,961,706    1 73%      23,800,260    1 72%     41,501,551,598   1 52%         1,226 6         16
    South Carolina            7,416,518     2,956,556,366    2 18%      25,838,500    1 87%     40,865,381,018   1 49%           979 5         30
    Colorado                  7,121,903     2,050,906,201    1 51%      19,449,200    1 40%     36,614,699,322   1 34%           805 9         39
    Nevada                    4,039,930     2,143,345,688    1.58%      20,389,639    1.47%     32,505,416,537   1.19%         1,336.3          8
    West Virginia             4,032,495     1,374,953,247    1.01%      12,756,235    0.92%     27,710,480,517   1.01%         1,660.4          3
    Utah                      4,648,363     1,191,841,154    0 88%      13,030,889    0 94%     27,531,764,590   1 01%         1,102 3         20
    Minnesota                 5,782,242     1,535,649,700    1 13%      13,896,692    1 00%     27,168,699,232   0 99%           568 4         49
    Arkansas                  5,716,135     1,570,116,921    1 16%      15,005,209    1 08%     24,092,530,804   0 88%           916 2         33
    Mississippi               5,351,588     1,386,176,032    1 02%      12,141,217    0 88%     23,801,384,700   0 87%           890 3         35
    Kansas                    4,645,815     1,446,151,301    1 07%      12,814,722    0 92%     22,137,306,013   0 81%           860 5         37
    Maine                     2,289,289       702,600,065    0.52%       7,765,542    0.56%     20,820,594,825   0.76%         1,742.6          2
    New Mexico                2,714,819       919,096,920    0 68%       9,352,637    0 68%     17,477,821,530   0 64%           940 6         32
    Iowa                      4,138,446       994,351,152    0 73%       8,270,308    0 60%     15,032,797,129   0 55%           547 6         50
    New Hampshire             2,011,289       509,797,959    0 38%       5,997,523    0 43%     14,809,345,496   0 54%         1,249 7         15
    Rhode Island              1,348,121       423,647,440    0.31%       5,161,088    0.37%     13,262,708,605   0.48%         1,399.2          6
    Delaware                  1,462,882       467,147,993    0.34%       6,165,846    0.45%     12,411,013,365   0.45%         1,532.7          4
    Idaho                     2,417,843       695,476,072    0 51%       6,187,731    0 45%     11,836,474,073   0 43%           837 2         38
    Hawaii                    1,267,488       446,244,115    0 33%       5,130,595    0 37%      9,034,756,341   0 33%           736 1         42
    Montana                   1,929,339       485,957,713    0 36%       4,703,802    0 34%      8,888,624,223   0 32%           997 1         27
    Nebraska                  2,559,570       547,121,781    0 40%       4,695,675    0 34%      8,469,741,825   0 31%           514 3         51
    Vermont                   1,021,829       262,308,022    0.19%       2,682,428    0.19%      8,365,302,057   0.31%         1,485.2          5
    Alaska                      983,607       303,646,336    0 22%       3,094,359    0 22%      6,309,325,701   0 23%           981 8         29
    South Dakota              1,112,368       277,677,404    0 20%       2,576,594    0 19%      4,483,095,365   0 16%           610 3         45
    District of Columbia        381,866       145,978,288    0 11%       2,061,012    0 15%      3,980,538,365   0 15%           731 0         44
    Wyoming                     960,004       238,165,303    0 18%       2,128,620    0 15%      3,870,354,803   0 14%           762 0         41
    North Dakota                937,630       213,406,437    0 16%       1,901,186    0 14%      3,677,539,067   0 13%           605 8         46

    Total                   424,445,336   135,651,650,530 100.00%    1,385,413,675 100.00%    2,738,400,574,122 100.00%


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             73.     The distribution of shipments to Dispensers reported in the
    ARCOS Data by year is presented in Table 11. The number of transactions,
    Dosage Units, Calculated Base Weight in Grams and MME all increased
    between 40% and 50% from 2006 to 2011.

    Table 11 Transactions by Year
                                             Dosage      Calculated Calculated
    Year    Transactions    Dosage Units     Units %    Base Weight Weight %          MME            MME %
    2006      39,555,401    11,739,835,283     8.65%     122,596,756      8.85%    227,932,856,076     8.32%
    2007      43,199,221    13,039,464,062     9.61%     133,746,179      9.65%    256,113,510,889     9.35%
    2008      44,277,708    14,161,966,782    10.44%     143,369,466     10.35%    272,470,450,720     9.95%
    2009      45,512,661    15,159,741,337    11.18%     154,460,272     11.15%    298,050,302,275    10.88%
    2010      48,012,352    15,964,409,642    11.77%     165,940,621     11.98%    325,429,971,159    11.88%
    2011      51,048,709    16,961,507,438    12.50%     173,058,621     12.49%    337,643,155,421    12.33%
    2012      51,898,574    16,833,678,959    12.41%     170,937,528     12.34%    342,222,622,755    12.50%
    2013      52,249,937    16,130,731,009    11.89%     162,374,915     11.72%    337,765,488,198    12.33%
    2014      48,690,773    15,660,316,018    11.54%     158,929,318     11.47%    340,772,216,622    12.44%

    Total    424,445,336   135,651,650,530 100.00%      1,385,413,675   100.00%   2,738,400,574,116 100.00%



    VI.      Opioid Shipment Summary

                A. ARCOS Summary on Shipment to Cabell County and the
                City of Huntington, WV
             74.     In this section, I summarize opioid shipment transactions by
    drug, by reporter’s business activity, by buyer’s business activity, and by year
    for Cabell County and the City of Huntington, WV.

             75.     According to the ARCOS Data, between 2006 and 2014,
    Dispensers in Cabell County and the City of Huntington, WV received 3.3
    billion MME of opioids. Table 12 through Table 15 (also Appendix 6A Table
    1a-d) summarize those transactions reported in the ARCOS Data for Cabell
    County and the City of Huntington, WV.



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          76.    According to the ARCOS Data, between 2006 and 2014,
    Dispensers in Cabell County and the City of Huntington, WV received 127.9
    million Dosage Units of opioids. As shown in Table 12, oxycodone accounted
    for 32.6% of all Dosage Units and 22.5% of MME. Hydrocodone accounted
    for 53.3% of all Dosage Units and 9.5% of MME. Buprenorphine and fentanyl
    have a large MME relative to their Dosage Units because both are often
    prescribed as skin patches, which deliver the drug for up to one week.

    Table 12 Transactions in Cabell County and the City of Huntington, WV by
    Drug
                       # of          Dosage      Dosage
 Drug Name         Transactions       Units      Units %        MME          MME %
 Oxycodone               77,260     41,632,500    32.55%      738,442,406     22.49%
 Fentanyl                33,856        693,654     0.54%      380,439,319     11.59%
 Hydrocodone            130,764     68,179,000    53.31%      312,916,961      9.53%
 Morphine                27,092      5,675,899     4.44%      168,681,159      5.14%
 Oxymorphone              6,508        789,860     0.62%       47,493,620      1.45%
 Hydromorphone            8,274        982,178     0.77%       28,921,338      0.88%
 Codeine                  8,146      2,132,655     1.67%        9,247,220      0.28%
 Tapetal                  1,332        140,100     0.11%        4,378,400      0.13%
 Opium, Powdered            411         10,980     0.01%          586,800      0.02%
 Meperidine                 692         28,500     0.02%          390,563      0.01%
 Levorphanol                 24          4,200     0.00%           54,087      0.00%
 Dihydrocodeine             100          6,857     0.01%           23,241      0.00%
 Buprenorphine           21,103      2,634,828     2.06%      584,911,335     17.82%
 Methadone                8,514      4,991,700     3.90%    1,006,496,311     30.66%

 Total                  324,076    127,902,911   100.00%    3,282,982,760    100.00%




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          77.    Table 13 shows that virtually all transactions involving
    Dispensers in Cabell County and the City of Huntington, WV were reported
    by Distributors.

    Table 13 Transactions in Cabell County and the City of Huntington, WV by
    Reporter’s Business Activity
  Reporter
  Business             # of         Dosage      Dosage
  Activity         Transactions      Units      Units %       MME         MME %
  Distributor           322,780   127,864,851    99.97%   3,052,915,737    92.99%
  Manufacturer            1,296        38,060     0.03%     230,067,023     7.01%
  Manufacturer
                             0              0     0.00%              0      0.00%
  (Bulk)

  Total                324,076    127,902,911   100.00%   3,282,982,760   100.00%




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           78.     In Cabell County and the City of Huntington, WV, retail
    pharmacies accounted for 43.4% of opioid Dosage Units and 36.6% of opioid
    MME, and chain pharmacies for 33.9% of Dosage Units and 22.3% of MME
    on all 14 opioid drugs. The only buyer in Main & Detox, Huntington
    Treatment Center, only purchased buprenorphine and methadone, which
    accounted for only 0.6% of Dosage Units, but 25.7% of MME. See Table 14.

    Table 14 Transactions in Cabell County and the City of Huntington, WV by
    Buyer’s Business Activity
 Buyer Business         # of          Dosage      Dosage
 Activity           Transactions       Units      Units %       MME        MME %
 Retail Pharmacy         155,190     55,539,321    43.42%    1,202,221,843  36.62%
 Maint & Detox                746       771,420      0.60%     844,659,018  25.73%
 Chain Pharmacy          121,982     43,303,313    33.86%      733,172,274  22.33%
 Hosp/Clinic-VA            12,737    22,858,718    17.87%      322,776,384   9.83%
 Hospital/Clinic           30,685     4,782,196      3.74%     158,337,562   4.82%
 M/O Pharmacy                 634       507,245      0.40%      18,634,974   0.57%
 Practitioner-
                             140          7,504     0.01%       1,507,282      0.05%
 DW/275
 Practitioner              1,848       129,026      0.10%       1,227,302      0.04%
 Practitioner-
                              67          1,982     0.00%         297,289      0.01%
 DW/30
 Practitioner-
                              23          1,966     0.00%         146,528      0.00%
 DW/100
 MLP-Nurse
                              14           180      0.00%           1,199      0.00%
 Practitioner
 MLP-Physician
                               9            40      0.00%           1,073      0.00%
 Assistant
 MLP-
 Ambulance                     1             0      0.00%              30      0.00%
 Service

 Total                   324,076    127,902,911   100.00%    3,282,982,760   100.00%




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          79.    Table 15 lists all Dispenser transactions in Cabell County and the
    City of Huntington, WV by transaction year.

    Table 15 Transactions in Cabell County and the City of Huntington, WV by
    Year
Transaction         # of                         Dosage
Year            Transactions    Dosage Units     Units %         MME         MME %
2006                   32,221     13,115,131       10.25%      364,042,774    11.09%
2007                   35,675     14,643,414       11.45%      370,363,692    11.28%
2008                   35,239     15,919,340       12.45%      351,262,510    10.70%
2009                   37,282     15,770,203       12.33%      368,069,707    11.21%
2010                   37,978     14,836,779       11.60%      386,724,054    11.78%
2011                   38,395     14,761,140       11.54%      376,467,892    11.47%
2012                   37,001     13,436,335       10.51%      351,958,896    10.72%
2013                   36,955     12,257,857        9.58%      336,517,673    10.25%
2014                   33,330     13,162,712       10.29%      377,575,562    11.50%

Total                324,076     127,902,911     100.00%     3,282,982,760    100.00%




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            80.     Table 16 lists the top 20 Labelers of the 12 drugs, excluding
    buprenorphine and methadone, by MME - accounting for 97.4% of the total
    MME shipped to Dispensers - in Cabell County and the City of Huntington,
    WV.

    Table 16 Top 20 Labelers, Cabell County and the City of Huntington, WV,
    ARCOS Data, 2006-2014.
     Rank                             Labeler                       MME          Percent    Cumulative
      1     SpecGx LLC                                             467,340,622     27.63%        27.63%
      2     Actavis Pharma, Inc.                                   389,416,798     23.02%        50.65%
      3     Purdue Pharma LP                                       153,524,103      9.08%        59.72%
      4     Mylan Pharmaceuticals, Inc.                            143,335,667      8.47%        68.20%
      5     Par Pharmaceutical                                     141,061,474      8.34%        76.54%
      6     Sandoz Inc                                              84,490,450      4.99%        81.53%
      7     Janssen Pharmaceuticals, Inc.                           51,481,998      3.04%        84.58%
      8     Endo Pharmaceuticals, Inc.                              46,015,226      2.72%        87.30%
      9     KVK-Tech, Inc.                                          29,013,764      1.72%        89.01%
      10    Rhodes Pharmaceuticals                                  24,074,415      1.42%        90.43%
      11    West-Ward Pharmaceuticals Corp.                         22,270,157      1.32%        91.75%
      12    Amneal Pharmaceuticals LLC                              18,174,333      1.07%        92.82%
      13    Ethex Corporation                                       16,923,939      1.00%        93.83%
      14    Hospira, Inc.                                           16,711,373      0.99%        94.81%
      15    Teva Pharmaceuticals USA, Inc.                          14,802,439      0.88%        95.69%
      16    Baxter Healthcare Corporation                            7,742,203      0.46%        96.15%
      17    Apotex Corp.                                             7,482,195      0.44%        96.59%
      18    Sun Pharmaceutical Industries, Inc.                      5,407,951      0.32%        96.91%
      19    Xanodyne Pharmaceuticals, Inc.                           4,684,086      0.28%        97.18%
      20    Professional Compounding Centers of America dba PCCA     4,185,149      0.25%        97.43%




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                  81.           Table 17 and Table 18 show the oxycodone and hydrocodone
    shipments to selected pharmacies in Cabell County and the City of
    Huntington, WV, in MME and Distributor market shares, respectively (see
    also Appendix 10K).34

    Table 17 Oxycodone and Hydrocodone Shipments to Selected Pharmacies in
    Cabell County and the City of Huntington, WV, MME, 2006 - 2014
                                                                                 Distributor MME to the Pharmacy
                                              DU      MME
                                             Market Market                                                    Self-
                                            Share %9 Share %10    ABDC            MCK          CAH         Distributed    Other       Total DU     Total MME

    Selected Independent Pharmacies
         Fruth (4 pharmacies) 1              18.24%   13.39%      61,348,864      240,495     51,640,559           -      3,105,795   14,850,710   116,335,714
         SafeScript (1 pharmacy) 2            5.42%   13.30%      98,468,248           -             -             -     17,121,784    4,414,640   115,590,031
         Medicine Shoppe (2 pharmacies) 3     7.25%   11.99%      10,082,892        9,081     82,825,762           -     11,285,022    5,900,850   104,202,758
         McCloud (1 pharmacy) 4               5.55%    8.20%      70,714,865           -             -             -        533,856    4,519,980    71,248,721
         Drug Emporium (1 pharmacy) 5         4.83%    5.72%      49,652,259           -             -             -         71,437    3,928,100    49,723,696
           Selected Independent Totals       41.29%   52.60%     290,267,128      249,576    134,466,321           -     32,117,894   33,614,280   457,100,919


    Selected National Chain Pharmacies
         CVS (4 pharmacies) 6                17.45%   14.36%             -              -    83,412,122     41,345,969          -     14,204,630   124,758,090
         Rite Aid (5 pharmacies) 7           10.81%    8.33%             -      46,612,570           -      25,502,244     307,556     8,801,300    72,422,370
         Walgreens (2 pharmacies) 8           3.10%    2.90%      8,857,879         17,405      835,817     15,501,912       3,559     2,522,800    25,216,573
          National Chain Totals              31.36%   25.59%      8,857,879     46,629,975   84,247,939     82,350,125      311,116   25,528,730   222,397,034



         Selected Grand Total                72.65%   78.19%     299,125,007    46,879,551   218,714,260    82,350,125   32,429,010   59,143,010   679,497,953




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      Selected Pharmacies include: four Fruth pharmacies: Fruth Pharmacy #5 (AF1585922),
    Fruth Pharmacy #12 (BS1588168), Fruth Pharmacy #2 (AS7523118) and Fruth Pharmacy
    #11 (BF1434555); SafeScript Pharmacy #6 (BS8246349); two Medicine Shoppe
    pharmacies: T and J Enterprises Inc DBA Medicine Shoppe (BT5541760) and Medicap
    Pharmacy (BM7641512); McCloud Family Pharmacy (BM9558733); Drug Emporium
    (BD0427927); four CVS pharmacies: CVS/Pharmacy # 03391 (BR4365486),
    CVS/Pharmacy # 04419 (BR4301545), CVS/Pharmacy # 04425 (BR4321787) and
    CVS/Pharmacy # 03480 (AR6055025); five Rite Aid pharmacies: Rite Aid #968
    (AR6070178), Rite Aid #3423 (FR0711552), Rite Aid #3311 (BR3421954), Rite Aid #950
    (AC2986872) and Rite Aid Discnt Phcy #3423 (BR3813664); two Walgreens pharmacies:
    Walgreens #11977 (FW1925568) and Walgreens #11980 (FW1365748).
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    Table 18 Oxycodone and Hydrocodone Shipments to Selected Pharmacies in
    Cabell County and the City of Huntington, WV, by Distributor Market Share,
    2006 - 2014
                                                                        Distributor MME % for the Pharmacy 11
                                            DU      MME
                                           Market Market                                          Self-
                                          Share %9 Share %10   ABDC        MCK        CAH      Distributed      Other    Total DU     Total MME

    Selected Independent Pharmacies
       Fruth (4 pharmacies) 1              18.24%   13.39%     52.73%       0.21%     44.39%           -         2.67%   14,850,710   116,335,714
       SafeScript (1 pharmacy) 2            5.42%   13.30%     85.19%          -          -            -        14.81%    4,414,640   115,590,031
       Medicine Shoppe (2 pharmacies) 3     7.25%   11.99%      9.68%       0.01%     79.49%           -        10.83%    5,900,850   104,202,758
       McCloud (1 pharmacy) 4               5.55%    8.20%     99.25%          -          -            -         0.75%    4,519,980    71,248,721
       Drug Emporium (1 pharmacy) 5         4.83%    5.72%     99.86%          -          -            -         0.14%    3,928,100    49,723,696
         Selected Independent Totals       41.29%   52.60%     63.50%       0.05%     29.42%           -         7.03%   33,614,280   457,100,919


    Selected National Chain Pharmacies
       CVS (4 pharmacies) 6                17.45%   14.36%         -           -      66.86%       33.14%           -    14,204,630   124,758,090
       Rite Aid (5 pharmacies) 7           10.81%    8.33%         -       64.36%         -        35.21%        0.42%    8,801,300    72,422,370
       Walgreens (2 pharmacies) 8           3.10%    2.90%     35.13%       0.07%      3.31%       61.48%        0.01%    2,522,800    25,216,573
        National Chain Totals              31.36%   25.59%      3.98%      20.97%     37.88%       37.03%        0.14%   25,528,730   222,397,034



       Selected Grand Total                72.65%   78.19%     44.02%       6.90%     32.19%        12.12%       4.77%   59,143,010   679,497,953




                    B. Defendants’ Shipment Summary
               82.          In addition to receiving the ARCOS Data produced by the DEA,
    I received Transactional Data produced in discovery by three Defendants,
    AmerisourceBergen Drug, Cardinal Health, and McKesson Corporation. I
    analyzed the Defendants’ Transactional Data and found that there are small
    gaps in the data produced by Defendants. I compared transactions in each
    Defendant’s Transactional Data to the ARCOS Data. I matched the
    transactions based on NDC, Buyer’s DEA Number, Quantity, and the
    transaction date (within ±5 days). After matching the transactions, I converted
    the transaction Quantity to both Dosage Units and MME.




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                83.      Table 19 presents summary statistics comparing the ARCOS
       Data and the Defendants’ Transactional Data. The transactions summarized
       in Table 19 consist of all transactions by Dispensers in Cabell County and the
       City of Huntington, WV from January 1, 2006 through December 31, 2014,
       involving the 14 opioids in Table 12.

       Table 19 Overlap between ARCOS Data and Defendant Data
                       Transaction in Both Datasets       Tranactions Only in ARCOS       Transactions Only in Defendants
                                                      Dosage                            Dosage
Defendant              Dosage Unit     MME             Unit       %      MME        %    Unit       %       MME         %
Cardinal Health         21,900,738 576,084,297          5,933 0.03%        83,633 0.01%  84,431 0.39% 2,264,666 0.39%
AmerisourceBergen Drug 41,539,089 841,218,973          32,135 0.08% 1,024,980 0.12%      27,670 0.07%        369,063 0.04%
McKesson Corporation    30,171,356 601,399,381          3,700 0.01%        28,915 0.00%  67,865 0.22%        957,501 0.16%
Total                    93,611,183 2,018,702,651      41,768 0.04% 1,137,527 0.06% 179,966 0.19% 3,591,230 0.18%


                84.      Using my matching criteria, over 99.8% of all MME or Dosage
       Units in either the ARCOS Data or the datasets produced by Defendants are
       in both the ARCOS Data and the datasets produced by Defendants (i.e., the
       MME and Dosage Units are in the intersection of the ARCOS Data and the
       datasets produced by Defendants).

                85.      The 99.8% overlap between the ARCOS Data and the datasets
       produced by Defendants demonstrates that the ARCOS Data and the datasets
       produced by Defendants in discovery are both reliable. The remainder of this
       section explains the slight differences between the ARCOS Data and the
       Defendants’ data.




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    with March 2008 Cardinal Health’s Transactional Data produced in
    discovery.35

           89.     Other very minor differences between Cardinal Health’s
    Transactional Data and the ARCOS Data include transactions that Cardinal
    Health reversed on the same day it recorded them in its own system and never
    reported the offsetting pairs of transactions to ARCOS. These transactions
    have zero impact. Cardinal Health produced those offsetting entries in
    discovery even though they don’t reflect executed transactions and Cardinal
    Health apparently did not report the offsetting transaction to the ARCOS
    system in real time. Also, I observed that some offsetting transactions in the
    ARCOS Data were reported more than 5 days later than Cardinal Health’s
    Transactional Data, causing small mismatches in my comparison.




    35
      In my calculation below I insert these missing March 2008 transactions Cardinal Health
    produced in discovery into the ARCOS Data.
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               90.    Table 20 summarizes the results of matching ARCOS Data and
    Cardinal Health’s Transactional Data, excluding transactions in March 2008.
    99.9% of the Dosage Units and MME reported in transactions in either the
    ARCOS data or Cardinal Health’s Transactional Data are reported in both the
    ARCOS Data and Cardinal Health’s Transactional Data.

    Table 20 Comparison by Drug code in ARCOS Data vs. Cardinal Health’s
    Transactional Data, Excluding March 2008
              Matched DU Matched MME                Only in ARCOS                Only in Defendant Data
 Base Drug         DU          MME          DU        %      MME       %      DU        %     MME        %
       9050           325,780   1,451,698       0    0.00%        0   0.00%       0 0.00%          0 0.00%
       9064           191,070 127,028,210       0    0.00%        0   0.00%      90 0.05% 21600 0.02%
       9120             2,200       9,937       0    0.00%        0   0.00%       0 0.00%          0 0.00%
       9143         9,906,820 207,398,285     600    0.01% 20171      0.01%     800 0.01% 25550 0.01%
       9150           254,356   3,735,262       0    0.00%        0   0.00%       0 0.00%          0 0.00%
       9193         8,584,490  47,181,082    1720    0.02%     8748   0.02%    1720 0.02%       8748 0.02%
       9220             3,100      39,583       0    0.00%        0   0.00%       0 0.00%          0 0.00%
       9230            14,200     118,066       0    0.00%        0   0.00%       0 0.00%          0 0.00%
       9250         1,137,400  46,345,178       0    0.00%        0   0.00%       0 0.00%          0 0.00%
       9300           864,740  26,626,981       0    0.00%        0   0.00%       0 0.00%          0 0.00%
       9639             1,200      55,080       0    0.00%        0   0.00%       0 0.00%          0 0.00%
       9652           324,840  18,648,057       0    0.00%        0   0.00%       0 0.00%          0 0.00%
       9780            61,860   1,960,600     200    0.32%     4000   0.20%     200 0.32%       4000 0.20%
       9801           201,860  94,828,183      10    0.00%     5100   0.01%      10 0.00%       5100 0.01%
 Total             21,873,916 575,426,204   2,530    0.01% 38,019     0.01%   2,820    0.01% 64,998     0.01%




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           91.     Table 21 shows the Labelers of oxycodone and hydrocodone
    shipped by Cardinal Health to Cabell County and the City of Huntington, WV
    and Labeler market shares in Dosage Units.

    Table 21 Labelers’ Market Shares in Cardinal Health Oxycodone and
    Hydrocodone Shipments in Dosage Units, 2006-2014
            Labeler Name         Oxycodone     Hydrocodone          Total     %
     Mallinckrodt/SpecGx LLC       4,056,900       3,391,160    7,448,060   40%
     Watson/Actavis/Allergan       2,277,800       3,501,800    5,779,600   31%
     Par Pharmaceutical            1,417,500         807,060    2,224,560   12%
     Amneal                          243,600         677,400      921,000    5%
     Purdue                          819,100               0      819,100    4%
     KVK-Tech, Inc.                  334,400               0      334,400    2%
     West-Ward                       275,400               0      275,400    1%
     Sun Pharmaceutical               51,000          99,600      150,600    1%
     Ethex Corporation               149,700               0      149,700    1%
     UCB, Inc.                             0         116,100      116,100    1%
     Endo                             99,700               0       99,700    1%
     Teva                             78,600           2,000       80,600    0%
     McKesson Corporation                  0          49,400       49,400    0%
     American Health Packaging        10,300          35,480       45,780    0%
     Alvogen, Inc.                    43,900               0       43,900    0%
     Mylan Pharmaceuticals            25,100               0       25,100    0%
     Forest Laboratories                   0          15,700       15,700     0%
     Major Pharmaceuticals                 0          15,500       15,500     0%
     Abbott/AbbVie                         0          12,300       12,300     0%
     Hawthorn Pharmaceuticals              0           6,800        6,800     0%
     Other Labelers                   74,800          58,420      133,220     1%
     Total                         9,957,800       8,788,720   18,746,520   100%




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           92.     Table 22 lists the Dispensers that Cardinal Health shipped
    oxycodone and hydrocodone to in Cabell County and the City of Huntington,
    WV.

    Table 22 Cardinal Health Oxycodone and Hydrocodone Shipments to
    Dispensers in Dosage Units, 2006-2014
          Dispenser Name        Oxycodone     Hydrocodone         Total      %
     CVS                          4,329,700         777,230   5,106,930    27%
     Kroger                       1,105,800         217,210   1,323,010     7%
     Kmart                          184,900         857,760   1,042,660     6%
     Walgreen Co                     39,800          14,560      54,360     0%
     Other Chain Pharmacy                 0               0           0     0%
     Chain Pharmacy Total        5,660,200        1,866,760   7,526,960    40%

     Retail Pharmacy              4,092,760       6,599,730   10,692,490   57%
     Closed Door Pharmacy            67,100         112,600      179,700    1%
     Mail Order Pharmacy                  0               0            0    0%
     Other Dispensers               137,740         209,630      347,370    2%

     Grand Total                  9,957,800       8,788,720   18,746,520   100%




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               96.     The comparison shows that nearly all the Dosage Units and
    MME in the AmerisourceBergen’s Transactional Data (99.9%) are also found
    in ARCOS Data. See Table 23.

    Table 23 Comparison by Drug code                                    in      ARCOS       Data     vs.
    AmerisourceBergen’s Transactional Data
              Matched DU Matched MME                 Only in ARCOS                  Only in Defendant Data
 Base Drug         DU         MME           DU        %       MME        %      DU        %      MME       %
       9050          531,400    2,364,395    1400    0.26%       4973   0.21%    15500 2.92% 51716 2.19%
       9064          306,328 123,555,616     2820    0.92%     601237   0.49%     1260 0.41% 129600 0.10%
       9120              600        2,937        0   0.00%          0   0.00%        0 0.00%          0 0.00%
       9143       13,351,960 308,324,664     4700    0.04%     139428   0.05%     2700 0.02% 95477 0.03%
       9150          302,820   15,120,338        0   0.00%          0   0.00%        0 0.00%          0 0.00%
       9193       23,739,520 112,794,610    20800    0.09%     107206   0.10%     7300 0.03% 29775 0.03%
       9220              800       10,215        0   0.00%          0   0.00%        0 0.00%          0 0.00%
       9230            1,300      158,940        0   0.00%         22   0.01%        0 0.00%          0 0.00%
       9250        1,586,100   74,913,996    1100    0.07%      64397   0.09%      100 0.01% 28621 0.04%
       9300        1,069,244   39,864,028      600   0.06%      18297   0.05%      800 0.07% 28874 0.07%
       9639            7,608      410,040        0   0.00%          0   0.00%        0 0.00%          0 0.00%
       9652          346,440   22,743,866      600   0.17%      40145   0.18%        0 0.00%          0 0.00%
       9780           42,840    1,313,600        0   0.00%          0   0.00%        0 0.00%          0 0.00%
       9801          252,129 139,641,727       115   0.05%      49275   0.04%       10 0.00%       5000 0.00%
 Total            41,539,089  841,218,973   32,135   0.08% 1,024,980    0.12%   27,670 0.07% 369,063 0.04%




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           97.     Table 24 shows the Labelers of oxycodone and hydrocodone
    shipped by AmerisourceBergen to Cabell County and the City of Huntington,
    WV and the Labeler market shares in Dosage Units.

    Table 24 Labelers’ Market Shares in AmerisourceBergen Oxycodone and
    Hydrocodone Shipments in Dosage Units, 2006-2014
            Labeler Name         Oxycodone     Hydrocodone           Total     %
     Watson/Actavis/Allergan       4,024,000      17,924,000    21,948,000   59%
     Mallinckrodt/SpecGx LLC       4,735,400       3,700,540     8,435,940   23%
     Par Pharmaceutical            1,334,700       1,341,790     2,676,490    7%
     Purdue                        1,463,160               0     1,463,160    4%
     Amneal                           72,300         552,700       625,000    2%
     Endo                            586,400               0       586,400    2%
     KVK-Tech, Inc.                  285,700               0       285,700    1%
     American Health Packaging       108,100          74,780       182,880    0%
     Ethex Corporation               176,200               0       176,200    0%
     Alvogen, Inc.                   164,000               0       164,000    0%
     UCB, Inc.                             0         148,200       148,200    0%
     Mylan Pharmaceuticals           114,200               0       114,200    0%
     Teva                            105,200           1,800       107,000    0%
     West-Ward                       104,600               0       104,600    0%
     Sun Pharmaceutical               78,300           7,700        86,000    0%
     McKesson Corporation                  0          34,950        34,950    0%
     Major Pharmaceuticals                 0           33,500       33,500     0%
     Abbott/AbbVie                         0           29,900       29,900     0%
     Forest Laboratories                   0           27,300       27,300     0%
     Hawthorn Pharmaceuticals              0            1,900        1,900     0%
     Other Labelers                  111,400           20,880      132,280     0%
     Total                        13,463,660       23,899,940   37,363,600   100%




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           98.     Table 25 lists the Dispensers that AmerisourceBergen shipped
    oxycodone and hydrocodone to in Cabell County and the City of Huntington,
    WV.

    Table 25 AmerisourceBergen Oxycodone and Hydrocodone Shipments to
    Dispensers in Dosage Units, 2006-2014
          Dispenser Name         Oxycodone     Hydrocodone          Total      %
     Walgreen Co                    315,200         321,680       636,880     2%
     Other Chain Pharmacy                 0               0             0     0%
     Chain Pharmacy Total           315,200         321,680       636,880     2%

     Retail Pharmacy              10,159,340       17,833,920   27,993,260   75%
     Closed Door Pharmacy          1,073,300        3,747,960    4,821,260   13%
     Mail Order Pharmacy             264,400            7,000      271,400    1%
     Other Dispensers              1,651,420        1,989,380    3,640,800   10%

     Grand Total                  13,463,660       23,899,940   37,363,600   100%




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               101. The comparison shows that nearly all the Dosage Units and
    MME in the McKesson’s Transactional Data (99.8%) are also found in
    transactions in ARCOS. See Table 26.

    Table 26 Comparison by Drug code in ARCOS Data vs. McKesson’s
    Transactional Data
              Matched DU Matched MME                 Only in ARCOS                 Only in Defendant Data
 Base Drug         DU          MME           DU        %      MME       %      DU        %      MME       %
       9050           515,200    2,108,182       0    0.00%        0   0.00%        0 0.00%          0 0.00%
       9064           340,896 137,719,224        0    0.00%        0   0.00%        0 0.00%          0 0.00%
       9120               500        2,098       0    0.00%        0   0.00%        0 0.00%          0 0.00%
       9143       15,654,640  154,870,219     3600    0.02% 24206      0.02%    35500 0.23% 296181 0.19%
       9150           355,990    6,259,751       0    0.00%      709   0.01%        0 0.00%       2979 0.05%
       9193         8,109,640   35,031,767       0    0.00%        0   0.00%    16260 0.20% 56332 0.16%
       9220               200        2,554       0    0.00%        0   0.00%        0 0.00%          0 0.00%
       9230            11,300       58,913       0    0.00%        0   0.00%        0 0.00%          0 0.00%
       9250         1,356,900   48,055,486       0    0.00%        0   0.00%     7700 0.57% 275475 0.57%
       9300         3,526,019   94,315,277       0    0.00%        0   0.00%     8200 0.23% 198423 0.21%
       9639             1,824      102,240       0    0.00%        0   0.00%        0 0.00%          0 0.00%
       9652            84,560    4,721,662       0    0.00%        0   0.00%        0 0.00%          0 0.00%
       9780            26,840      828,200     100    0.37%     4000   0.48%        0 0.00%          0 0.00%
       9801           186,847 117,323,807        0    0.00%        0   0.00%      205 0.11% 128110 0.11%
 Total             30,171,356  601,399,381   3,700    0.01% 28,915     0.00%   67,865 0.22% 957,501 0.16%




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           102. Table 27 shows the Labelers of oxycodone and hydrocodone
    shipped by McKesson to Cabell County and the City of Huntington, WV and
    Labeler market shares in Dosage Units.

    Table 27 Labelers’ Market Shares in McKesson Oxycodone and Hydrocodone
    Shipments in Dosage Units, 2006-2014
            Labeler Name         Oxycodone     Hydrocodone          Total     %
     Mallinckrodt/SpecGx LLC      11,232,900       5,875,460   17,108,360   74%
     Par Pharmaceutical            1,983,100       1,390,630    3,373,730   15%
     Watson/Actavis/Allergan         576,700         491,000    1,067,700    5%
     West-Ward                       547,000               0      547,000    2%
     Amneal                          252,900          46,300      299,200    1%
     Purdue                          224,240               0      224,240    1%
     Ethex Corporation               175,000               0      175,000    1%
     Mylan Pharmaceuticals           101,000               0      101,000    0%
     KVK-Tech, Inc.                   50,000               0       50,000    0%
     Teva                             24,900          11,800       36,700    0%
     Endo                             17,400               0       17,400    0%
     Sun Pharmaceutical               14,200           1,400       15,600    0%
     Alvogen, Inc.                    14,700               0       14,700    0%
     Hawthorn Pharmaceuticals              0          12,900       12,900    0%
     UCB, Inc.                             0           6,600        6,600    0%
     Abbott/AbbVie                         0           4,500        4,500    0%
     McKesson Corporation                  0           3,400        3,400     0%
     Forest Laboratories                   0           1,500        1,500     0%
     Major Pharmaceuticals                 0           1,300        1,300     0%
     American Health Packaging           200               0          200     0%
     Other Labelers                   69,500          23,180       92,680     0%
     Total                        15,283,740       7,869,970   23,153,710   100%




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              103. Table 28 lists the Dispensers that McKesson shipped oxycodone
    and hydrocodone to in Cabell County and the City of Huntington, WV.

    Table 28 McKesson Oxycodone and Hydrocodone Shipments to Dispensers
    in Dosage Units, 2006-2014
           Dispenser Name             Oxycodone     Hydrocodone             Total         %
     Rite Aid                           2,396,440         843,040       3,239,480       14%
     Target Stores                        140,800         500,270         641,070        3%
     Wal-Mart                              21,300         143,860         165,160        1%
     Kroger                                     0           3,800           3,800        0%
     Walgreen Co                                0           3,000           3,000        0%
     Other Chain Pharmacy                       0               0               0        0%
     Chain Pharmacy Total              2,558,540        1,493,970       4,052,510       18%

     Retail Pharmacy                      305,320         141,730         447,050        2%
     Closed Door Pharmacy                 187,400         560,200         747,600        3%
     Mail Order Pharmacy                  154,300             500         154,800        1%
     Other Dispensers                  12,078,180       5,673,570      17,751,750       77%

     Grand Total                       15,283,740       7,869,970      23,153,710      100%



    VII. Flagged Distributor Defendants Transactions

              104. I implemented various approaches to identify transactions
    meeting specified criteria using the non-public ARCOS Data from 2006 to
    2014, supplemented with Defendants’ Transactional Data where the ARCOS
    Data is obviously missing but are included in the transactions produced by
    Distributor Defendants in discovery and to the extent I have Defendants'
    Transactional Data for the periods before 2006 and after 2014. I calculated the
    results separately for each of twelve controlled substance drug codes.37




    37
         I do not analyze transactions in two treatment drugs: buprenorphine and methadone.
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              A. Method 1: Maximum Monthly, Trailing Six-month Threshold
           105. Under the first approach, I identify transactions that cause the
    number of Dosage Units shipped by a Distributor Defendant to a pharmacy in
    a calendar month to exceed the highest number of Dosage Units shipped by
    the Distributor Defendant to the pharmacy in any one of the six preceding
    calendar months.38 For example, if the number of Dosage Units containing
    hydrocodone shipped from a Distributor Defendant to a pharmacy in
    February, March, April, May, June, and July was 5,000; 10,000; 7,000; 8,000;
    9,000; and 9,500 respectively, a requested transaction in August would be
    flagged if it would cause the number of Dosage Units containing hydrocodone
    the Distributor Defendant shipped to the pharmacy to exceed 10,000. Any
    reported transactions containing hydrocodone on that date and all reported
    transactions containing hydrocodone from that Distributor Defendant to that
    pharmacy thereafter are flagged.




    38
      In this approach and the others implemented below (with the exception of Method 2:
    Trailing Six-month Maximum Monthly, Fixed After First Triggered Threshold) my
    calculation is based on the entire shipment of this Distributor Defendants, not of individual
    Distribution Center.
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          106. Table 29 reports Total MME and % of Total MME in
    transactions flagged in Cabell County and the City of Huntington, WV using
    the Trailing Six-Month Maximum Threshold.

    Table 29 Trailing Six-Month Maximum Threshold Flagged Transactions,
    Cabell County and the City of Huntington, WV, Total MME and % MME
                        Defendants'
               Year     Total MME        Flagged MME       %
                1996        3,676,079             3,420       0.1%
                1997        2,971,440         1,593,871      53.6%
                1998        5,628,469         2,903,431      51.6%
                1999        9,748,424         7,090,993      72.7%
                2000       13,277,798        10,055,886      75.7%
                2001       16,011,946        11,090,098      69.3%
                2002       20,776,512        13,782,638      66.3%
                2003       24,095,532        16,775,991      69.6%
                2004       33,812,841        16,742,681      49.5%
                2005       88,976,826        36,047,335      40.5%
                2006      101,663,192        75,807,024      74.6%
                2007      106,658,684        83,086,310      77.9%
                2008      113,665,454        86,871,826      76.4%
                2009      128,134,351       101,592,902      79.3%
                2010      134,446,855        88,948,942      66.2%
                2011      123,822,352        95,754,631      77.3%
                2012       98,917,207        78,017,593      78.9%
                2013       86,041,530        62,996,586      73.2%
                2014       88,675,236        67,936,969      76.6%
                2015       88,769,151        63,922,004      72.0%
                2016       68,217,935        45,441,503      66.6%
                2017       49,205,864        32,127,807      65.3%
                2018       24,161,252        14,767,536      61.1%

               Total    1,431,354,928     1,013,357,980      70.8%




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          107. Figure 8 illustrates total opioid transactions from Distributor
    Defendants to retail and chain pharmacies into Cabell County and the City of
    Huntington, WV from 1996 to 2018 and those transactions which would be
    flagged by the Trailing Six-Month Maximum Threshold methodology. The
    Trailing Six-Month Maximum Threshold methodology flags 71.9% of
    transactions accounting for 87.0% of Dosage Units, 70.8% of MME and
    85.0% of drug weight shipped into Cabell County and the City of Huntington,
    WV. Additional charts and tables reflecting the result of applying this
    methodology and the methodologies below to each Distributor Defendant are
    in Appendix 7.

    Figure 8 Trailing Six-Month Maximum Threshold Flagged Transactions,
    Cabell County and the City of Huntington, WV 1996 to 2018




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          108. Table 30 summarizes the transactions flagged based on the
    Trailing Six-Month Maximum Threshold Approach in Cabell County and the
    City of Huntington, WV.

    Table 30 Trailing Six-Month Maximum Threshold Flagged Transactions,
    Cabell County and the City of Huntington, WV 1996 to 2018




                                                                          Hydromorphone


                                                                                            Oxymorphone
                                             Hydrocodone
                             Oxycodone




                                                             Morphine




                                                                                                                         Total
                                                                                                            Other
  # of Flagged
  Transactions
  AmerisourceBergen
                         28,821          39,960            6,080         363              2,175           3,493      80,892
  Drug
  Cardinal Health        47,104          31,744            8,824        1,263             2,273           4,059      95,267
  McKesson
                          7,900           7,188             953           35               225             323       16,624
  Corporation
  Total                  83,825          78,892 15,857                  1,661             4,673           7,875     192,783


            B. Method 2: Trailing Six-month Maximum Monthly, Fixed
            After First Triggered Threshold
          109. Under the second approach, when a transaction causes the
    number of dosage units shipped to a pharmacy in a month to exceed the
    highest number of dosage units shipped to the pharmacy in any one of the six
    preceding months, the dosage units of highest month in the preceding six
    months becomes threshold which is then applied in all subsequent months.
    For example, if the number of Dosage Units containing hydrocodone shipped
    from a Distributor Defendant to a pharmacy in February, March, April, May,
    June, and July was 5,000; 10,000; 7,000; 8,000; 9,000; and 9,500 respectively,
    a requested transaction in August would be flagged if it would cause the
    number of Dosage Units containing hydrocodone the Distributor Defendant
    shipped to the Pharmacy to exceed 10,000. Any reported transactions
    containing hydrocodone on that date and to the month-end from that
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    Distributor Defendant to that pharmacy are flagged. This 10,000 Dosage Units
    number becomes the fixed monthly hydrocodone limit of this pharmacy
    thereafter and the excess, if any, of the pharmacy’s monthly receipt in excess
    of 10,000 is flagged.




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          110. Table 31 reports Total MME and % of Total MME in
    transactions flagged in Cabell County and the City of Huntington, WV using
    the Trailing Six-Month Maximum, Fixed After Triggered Threshold.

    Table 31 Trailing Six-Month Maximum, Fixed After Triggered Threshold
    Flagged Transactions, Cabell County and the City of Huntington, WV, Total
    MME and % MME
                        Defendants'
               Year     Total MME        Flagged MME       %
                1996        3,676,079             3,420       0.1%
                1997        2,971,440           312,675      10.5%
                1998        5,628,469           997,240      17.7%
                1999        9,748,424         2,731,685      28.0%
                2000       13,277,798         5,514,927      41.5%
                2001       16,011,946         7,606,045      47.5%
                2002       20,776,512        10,267,103      49.4%
                2003       24,095,532        11,100,720      46.1%
                2004       33,812,841        10,324,445      30.5%
                2005       88,976,826        17,192,783      19.3%
                2006      101,663,192        23,371,988      23.0%
                2007      106,658,684        28,493,906      26.7%
                2008      113,665,454        33,981,741      29.9%
                2009      128,134,351        41,690,495      32.5%
                2010      134,446,855        43,889,971      32.6%
                2011      123,822,352        43,667,286      35.3%
                2012       98,917,207        43,727,403      44.2%
                2013       86,041,530        29,570,696      34.4%
                2014       88,675,236        32,701,298      36.9%
                2015       88,769,151        33,657,518      37.9%
                2016       68,217,935        21,249,246      31.1%
                2017       49,205,864        13,490,556      27.4%
                2018       24,161,252         5,795,757      24.0%

               Total    1,431,354,928       461,338,903      32.2%




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          111. Figure 9 illustrates total opioid transactions from Distributor
    Defendants to retail and chain pharmacies into Cabell County and the City of
    Huntington, WV from 1996 to 2018 and those transactions which would be
    flagged by the Trailing Six-Month Maximum, Fixed After Triggered
    Threshold methodology. The Trailing Six-Month Maximum, Fixed After
    Triggered Threshold methodology flags 27.6% of transactions accounting for
    37.7% of Dosage Units, 32.2% of MME and 37.2% of drug weight shipped
    into Cabell County and the City of Huntington, WV.

    Figure 9 Trailing Six-Month Maximum, Fixed After Triggered Threshold
    Flagged Transactions, Cabell County and the City of Huntington, WV 1996
    to 2018




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          112. Table 32 summarizes the transactions flagged based on the
    Trailing Six-Month Maximum, Fixed After Triggered Threshold Approach in
    Cabell County and the City of Huntington, WV.

    Table 32 Trailing Six-Month Maximum, Fixed After Triggered Threshold
    Flagged Transactions, Cabell County and the City of Huntington, WV 1996
    to 2018




                                                                        Hydromorphone


                                                                                          Oxymorphone
                                             Hydrocodone
                             Oxycodone




                                                             Morphine




                                                                                                                     Total
                                                                                                         Other
  # of Flagged
  Transactions
  AmerisourceBergen
                          9,322           8,668            1,284        22               930            289      20,515
  Drug
  Cardinal Health        32,413          13,121            1,958        32               820            238      48,582
  McKesson
                          1,486           3,318              56              2            18             37       4,917
  Corporation
  Total                  43,221          25,107            3,298        56              1,768           564      74,014

            C. Method 3: Twice Trailing Twelve-Month Average Pharmacy
            Dosage Units
          113. Under the third approach, I identify transactions that cause the
    number of Dosage Units shipped by a Distributor Defendant to a pharmacy in
    a calendar month to exceed twice the trailing twelve-month average Dosage
    Units to retail and chain pharmacies served by the Distributor Defendant.




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          114. Table 33 reports Total MME and % of Total MME in
    transactions flagged in Cabell County and the City of Huntington, WV using
    the Twice Trailing Twelve-Month Average Pharmacy Dosage Units
    Threshold.

    Table 33 Twice Trailing Twelve-Month Average Pharmacy Dosage Units
    Threshold Flagged Transactions, Cabell County and the City of Huntington,
    WV, Total MME and % MME
                         Defendants'
                 Year    Total MME        Flagged MME      %
                  1996       3,676,079                 0      0.0%
                  1997       2,971,440         2,362,764     79.5%
                  1998       5,628,469         3,595,390     63.9%
                  1999       9,748,424         8,066,810     82.7%
                  2000      13,277,798        10,895,447     82.1%
                  2001      16,011,946        12,605,642     78.7%
                  2002      20,776,512        14,929,318     71.9%
                  2003      24,095,532        16,752,464     69.5%
                  2004      33,812,841        20,446,643     60.5%
                  2005      88,976,826        59,408,863     66.8%
                  2006     101,663,192        72,870,255     71.7%
                  2007     106,658,684        87,189,516     81.7%
                  2008     113,665,454        92,792,677     81.6%
                  2009     128,134,351       110,223,308     86.0%
                  2010     134,446,855       115,372,460     85.8%
                  2011     123,822,352       110,624,242     89.3%
                  2012      98,917,207        86,615,737     87.6%
                  2013      86,041,530        70,990,924     82.5%
                  2014      88,675,236        74,371,152     83.9%
                  2015      88,769,151        71,245,074     80.3%
                  2016      68,217,935        52,268,956     76.6%
                  2017      49,205,864        35,537,464     72.2%
                  2018      24,256,687        14,910,444     61.7%

                 Total   1,431,450,363     1,144,075,550     79.9%




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          115. Figure 10 illustrates total opioid transactions from Distributor
    Defendants to retail and chain pharmacies into Cabell County and the City of
    Huntington, WV from 1996 to 2018 and those transactions which would be
    flagged by the Twice Trailing Twelve-month Average Pharmacy Dosage
    Units methodology. The Twice Trailing Twelve-Month Average Pharmacy
    Dosage Units Threshold methodology flags 70.5% of transactions accounting
    for 81.5% of Dosage Units, 79.9% of MME and 80.7% of drug weight shipped
    into Cabell County and the City of Huntington, WV.

    Figure 10 Twice Trailing Twelve-Month Average Pharmacy Dosage Units
    Threshold Flagged Transactions, Cabell County and the City of Huntington,
    WV 1996 to 2018




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          116. Table 34 summarizes the transactions flagged based on the
    Twice Trailing Twelve-Month Average Pharmacy Dosage Units Threshold in
    Cabell County and the City of Huntington, WV.

    Table 34 Twice Trailing Twelve-Month Average Pharmacy Dosage Units
    Threshold Flagged Transactions, Cabell County and the City of Huntington,
    WV 1996 to 2018




                                                                         Hydromorphone


                                                                                           Oxymorphone
                                            Hydrocodone
                            Oxycodone




                                                            Morphine




                                                                                                                        Total
                                                                                                           Other
  # of Flagged
  Transactions
  AmerisourceBergen
                        23,363          35,026            4,422         746              2,566           7,340      73,463
  Drug
  Cardinal Health       39,553          33,354            8,576        1,693             3,096 17,819              104,091
  McKesson
                         4,802           3,521             414           48               620            1,843      11,248
  Corporation
  Total                 67,718          71,901 13,412                  2,487             6,282 27,002              188,802


            D. Method 4: Three Times Trailing Twelve-Month Average
            Pharmacy Dosage Units
          117. Under the fourth approach, I identify transactions that cause the
    number of Dosage Units shipped by a Distributor Defendant to a pharmacy in
    a calendar month to exceed three times the trailing twelve-month average
    Dosage Units to retail and chain pharmacies served by the Distributor
    Defendant.




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          118. Table 35 reports Total MME and % of Total MME in
    transactions flagged in Cabell County and the City of Huntington, WV using
    the Three Times Trailing Twelve-Month Average Pharmacy Dosage Units
    Threshold.

    Table 35 Three Times Trailing Twelve-Month Average Pharmacy Dosage
    Units Threshold Flagged Transactions, Cabell County and the City of
    Huntington, WV, Total MME and % MME
                         Defendants'
                 Year    Total MME        Flagged MME      %
                  1996       3,676,079                 0      0.0%
                  1997       2,971,440         2,047,426     68.9%
                  1998       5,628,469         3,105,597     55.2%
                  1999       9,748,424         6,189,206     63.5%
                  2000      13,277,798         9,170,847     69.1%
                  2001      16,011,946        10,202,920     63.7%
                  2002      20,776,512        13,154,352     63.3%
                  2003      24,095,532        14,075,836     58.4%
                  2004      33,812,841        17,308,963     51.2%
                  2005      88,976,826        43,529,339     48.9%
                  2006     101,663,192        51,470,923     50.6%
                  2007     106,658,684        72,005,547     67.5%
                  2008     113,665,454        75,272,916     66.2%
                  2009     128,134,351        89,607,725     69.9%
                  2010     134,446,855        95,224,357     70.8%
                  2011     123,822,352        94,590,943     76.4%
                  2012      98,917,207        68,093,595     68.8%
                  2013      86,041,530        50,535,583     58.7%
                  2014      88,675,236        49,750,851     56.1%
                  2015      88,769,151        47,351,026     53.3%
                  2016      68,217,935        32,428,136     47.5%
                  2017      49,205,864        22,093,552     44.9%
                  2018      24,256,687         7,733,058     31.9%

                 Total   1,431,450,363       874,942,698     61.1%




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          119. Figure 11 illustrates total opioid transactions from Distributor
    Defendants to retail and chain pharmacies into Cabell County and the City of
    Huntington, WV from 1996 to 2018 and those transactions which would be
    flagged by the Three Times Trailing Twelve-Month Average Pharmacy
    Dosage Units Threshold methodology. The Three Times Trailing Twelve-
    Month Average Pharmacy Dosage Units Threshold methodology flags 50.9%
    of transactions accounting for 63.6% of Dosage Units, 61.1% of MME and
    62.5% of drug weight shipped into Cabell County and the City of Huntington,
    WV.

    Figure 11 Three Times Trailing Twelve-Month Average Pharmacy Dosage
    Units Threshold Flagged Transactions, Cabell County and the City of
    Huntington, WV 1996 to 2018




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          120. Table 36 summarizes the transactions flagged based on the Three
    Times Trailing Twelve-Month Average Pharmacy Dosage Units Threshold in
    Cabell County and the City of Huntington, WV.

    Table 36 Three Times Trailing Twelve-Month Average Pharmacy Dosage
    Units Threshold Flagged Transactions, Cabell County and the City of
    Huntington, WV 1996 to 2018




                                                                          Hydromorphone


                                                                                            Oxymorphone
                                              Hydrocodone
                              Oxycodone




                                                              Morphine




                                                                                                                         Total
                                                                                                            Other
  # of Flagged
  Transactions
  AmerisourceBergen
                          17,165          28,049            2,226        247              2,210           3,904      53,801
  Drug
  Cardinal Health         25,932          28,187            6,978        736              2,314 13,915               78,062
  McKesson
                           1,989           1,285              30               0           308             954        4,566
  Corporation
  Total                   45,086          57,521            9,234        983              4,832 18,773              136,429


             E. Method 5: Maximum 8,000 Dosage Units Monthly
          121. Under the fifth approach, I identify transactions that cause the
    number of Dosage Units shipped by a Distributor Defendant to a pharmacy in
    a calendar month to exceed 8,000 Dosage Units.39




    39
      McKesson Operations Manual for Pharma Distribution dated May 16, 2007 shows the
    dosage threshold of 8,000 on oxycodone or hydrocodone (MCK-WVAG-003-0001047,
    MCKMDL00355251).
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          122. Table 37 reports Total MME and % of Total MME in
    transactions flagged in Cabell County and the City of Huntington, WV using
    the Maximum 8,000 Dosage Units Monthly Threshold.

    Table 37 Maximum 8,000 Dosage Units Monthly Threshold Flagged
    Transactions, Cabell County and the City of Huntington, WV, Total MME
    and % MME
                        Defendants'
               Year     Total MME        Flagged MME       %
                1996        3,676,079            82,531       2.2%
                1997        2,971,440            57,668       1.9%
                1998        5,628,469           137,467       2.4%
                1999        9,748,424         2,107,662      21.6%
                2000       13,277,798         3,246,199      24.4%
                2001       16,011,946         4,139,172      25.9%
                2002       20,776,512         8,376,490      40.3%
                2003       24,095,532         9,361,409      38.9%
                2004       33,812,841        11,460,331      33.9%
                2005       88,976,826        42,778,692      48.1%
                2006      101,663,192        56,120,423      55.2%
                2007      106,658,684        63,593,810      59.6%
                2008      113,665,454        67,861,342      59.7%
                2009      128,134,351        83,984,882      65.5%
                2010      134,446,855        86,737,762      64.5%
                2011      123,822,352        76,330,784      61.6%
                2012       98,917,207        62,738,809      63.4%
                2013       86,041,530        49,967,716      58.1%
                2014       88,675,236        54,842,075      61.8%
                2015       88,769,151        56,247,880      63.4%
                2016       68,217,935        41,881,116      61.4%
                2017       49,205,864        28,280,472      57.5%
                2018       24,256,687        12,406,513      51.1%

               Total    1,431,450,363       822,741,206      57.5%




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          123. Figure 12 illustrates total opioid transactions from Distributor
    Defendants to retail and chain pharmacies into Cabell County and the City of
    Huntington, WV from 1996 to 2018 and those transactions which would be
    flagged by the Maximum 8,000 Dosage Units Monthly Threshold
    methodology. The Maximum 8,000 Dosage Units Monthly Threshold
    methodology flags 52.7% of transactions accounting for 78.0% of Dosage
    Units, 57.5% of MME and 68.4% of drug weight shipped into Cabell County
    and the City of Huntington, WV.

    Figure 12 Maximum 8,000 Dosage Units Monthly Threshold Flagged
    Transactions, Cabell County and the City of Huntington, WV 1996 to 2018




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          124. Table 38 summarizes the transactions flagged based on the
    Maximum 8,000 Dosage Units Monthly Threshold Approach in Cabell
    County and the City of Huntington, WV.

    Table 38 Maximum 8,000 Dosage Units Monthly Threshold Flagged
    Transactions, Cabell County and the City of Huntington, WV 1996 to 2018




                                                                       Hydromorphone


                                                                                        Oxymorphone
                                              Hydrocodone
                              Oxycodone




                                                            Morphine




                                                                                                                    Total
                                                                                                       Other
   # of Flagged
   Transactions
   AmerisourceBergen
                          23,006          41,230               0            0          635               0      64,871
   Drug
   Cardinal Health        37,293          29,845               0            0                0        957       68,095
   McKesson
                           4,294           3,858               0            0                0           0       8,152
   Corporation
   Total                  64,593          74,933               0            0          635            957      141,118


             F. Method 6: Maximum Daily Dosage Units
          125. Under the sixth approach, I identify transactions that cause the
    number of Dosage Units shipped by a Distributor Defendant to a pharmacy in
    a day to exceed a specified number of Dosage Units that varies by drug type
    and within some drug types by formulation.40




    40
     Maximum Daily Dosage Units used as specified in
    CAH_MDLPRIORPRO_DEA07_01384160.
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          126. Table 39 reports Total MME and % of Total MME in
    transactions flagged in Cabell County and the City of Huntington, WV using
    the Maximum Daily Dosage Units Threshold.

    Table 39 Maximum Daily Dosage Units Threshold Flagged Transactions,
    Cabell County and the City of Huntington, WV, Total MME and % MME
                        Defendants'
               Year     Total MME        Flagged MME       %
                1996        2,519,961         1,574,927     62.5%
                1997        2,413,289         2,104,427     87.2%
                1998        4,222,541         2,823,792     66.9%
                1999        7,826,526         6,504,370     83.1%
                2000       10,487,500         8,981,926     85.6%
                2001       11,927,688        10,214,757     85.6%
                2002       15,376,605        13,946,810     90.7%
                2003       17,556,749        16,313,422     92.9%
                2004       24,014,632        21,346,116     88.9%
                2005       67,920,944        63,805,660     93.9%
                2006       78,868,523        75,081,191     95.2%
                2007       81,618,726        78,656,011     96.4%
                2008       86,711,380        84,412,142     97.3%
                2009      100,055,902        98,287,999     98.2%
                2010      101,300,482        98,876,182     97.6%
                2011       88,085,792        86,813,965     98.6%
                2012       71,590,543        69,902,950     97.6%
                2013       63,136,525        61,230,957     97.0%
                2014       66,036,736        64,073,295     97.0%
                2015       67,531,414        65,620,692     97.2%
                2016       50,460,085        48,684,671     96.5%
                2017       35,801,386        34,469,580     96.3%
                2018       18,755,215        17,385,450     92.7%

               Total    1,074,219,144     1,031,111,294      96.0%




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          127. Figure 13 illustrates total opioid transactions from Distributor
    Defendants to retail and chain pharmacies into Cabell County and the City of
    Huntington, WV from 1996 to 2018 and those transactions which would be
    flagged by the Maximum Daily Dosage Units Threshold methodology. The
    Maximum Daily Dosage Units Threshold methodology flags 88.0% of
    transactions accounting for 96.1% of Dosage Units, 96.0% of MME and
    93.1% of drug weight shipped into Cabell County and the City of Huntington,
    WV.

    Figure 13 Maximum Daily Dosage Units Threshold, Any Order Subsequent
    to a Flagged Transaction, Cabell County and the City of Huntington, WV
    1996 to 2018




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             128. Table 40 summarizes the transactions flagged based on the
    Maximum Daily Dosage Units Threshold Approach in Cabell County and the
    City of Huntington, WV.

    Table 40 Maximum Daily Dosage Units Threshold Flagged Transactions in
    Cabell County and the City of Huntington, WV 1996 to 2018




                                                                            Hydromorphone


                                                                                            Oxymorphone
                                               Hydrocodone
                               Oxycodone




                                                               Morphine




                                                                                                                         Total
                                                                                                            Other
  # of Flagged
  Transactions
  AmerisourceBergen
                           30,063          43,951            5,601        1,059             n/a            724       81,398
  Drug
  Cardinal Health          47,440          37,183            8,936        1,395             n/a           2,092      97,046
  McKesson
                            8,014           7,838            1,412          75              n/a             48       17,387
  Corporation
  Total                    85,517          88,972 15,949                  2,529             n/a           2,864     195,831



    VIII. Charts and Reports

             129.   I have created additional Excel Macro and diagnostic tools,
    which allow the overlay of selected orders upon the ARCOS data and/or
    Defendants’ Transactional Data and provide the ability to sort, compare, and
    view the order history of an individual pharmacy. These macros and
    diagnostic tools are being provided with this report.

             130. In Appendix 8 I have created a map illustrating the location of
    Cabell County (red) and the City of Huntington (yellow), along with the zip
    code 257** and 255** that covers the entire area.41




    41
         Source: www.zeemaps.com
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          131. In addition, I have created a set of Charts and Tables that are too
    voluminous to be displayed and discussed fully here-in. Those additional
    Charts and Tables are attached in Appendix 9 and Appendix 10, described
    generally in this section.

             • Appendix 9A: State Oxycodone and Hydrocodone MME Per
             Capita, 1997-2019
          132. Using ARCOS data produced by the DEA for 2006-2014 and
    public ARCOS Retail Drug Summary Reports otherwise, I plot total
    oxycodone and hydrocodone MME per capita, by State from 1997 to 2019.
    There is one chart and a 2-page backup summary table for oxycodone and
    hydrocodone.

          133. In the two charts, the line reflecting West Virginia MME per
    capita is highlighted using red. The rest of the states are drawn in light grey.

          134. The 2-page backup summary tables report oxycodone and
    hydrocodone MME per capita each year and averaged over the 1997-2019
    period. The states are sorted by average MME per capita over the entire 23-
    year period.

             • Appendix 9B: Oxycodone and Hydrocodone Distribution by
             Distributor Defendant
          135. Using ARCOS data produced by the DEA for 2006-2014 and
    Distributor Defendants’ Transactional Data for the periods before 2006 and
    after 2014, I plot all Distributor Defendants’ shipments of oxycodone and
    hydrocodone into Cabell County and the City of Huntington, WV.

          136. There are two versions of this chart. One version is a stacked bar
    chart in which the height of a colored section of each bar corresponds to
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    shipments by each Distributor Defendant according to the color-coded legend.
    The second version of the chart is a line graph in which each Distributor
    Defendant’s shipments are reflected by the same color-coding as the stacked
    bar chart.

               • Appendix 9C: All Distributor Defendants Oxycodone and
               Hydrocodone Distribution
             137. Using ARCOS data produced by the DEA for 2006-2014 and
    Distributor Defendants’ Transactional Data for the periods before 2006 and
    after 2014, I plot all Distributor Defendants’ shipments of oxycodone and
    hydrocodone into Cabell County and the City of Huntington, WV from 1996
    to 2018 in Dosage Units, MME and weight in milligram.

               • Appendix 9D: All Seller Oxycodone and Hydrocodone
               Distribution, by Zip Code and by Drug
             138. Using public ARCOS Retail Drug Summary Reports, I plot all
    shipments of oxycodone and hydrocodone into West Virginia and into all zip-
    codes in West Virginia from 1997 to 2019 in MME and weight in milligram.

             139. ARCOS Retail Drug Summary Reports report State and 3-digit
    zip-code information. County boundaries do not coincide precisely with 3-
    digit zip-code boundaries. These charts - and any other chart, figure or
    analysis using ARCOS Retail Drug Summary Reports - use the 3-digit zip-
    codes.

               • Appendix 9E: Individual Distributor Defendant Oxycodone
               Distribution in Cabell County and the City of Huntington, WV,
               by Total Dosage, Total MME, Total Drug Base Weight
             140. Using ARCOS data produced by the DEA for 2006-2014 and
    Distributor Defendants’ Transactional Data for the periods before 2006 and
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    after 2014, I plot each Distributor Defendants’ monthly shipments of
    oxycodone into Cabell County and the City of Huntington, WV in Dosage
    Units, MME and base weight in milligram.

            • Appendix    9F:     Individual    Distributor   Defendant
            Hydrocodone Distribution in Cabell County and the City of
            Huntington, WV, by Total Dosage, Total MME, Total Drug Base
            Weight
          141. Using ARCOS data produced by the DEA for 2006-2014 and
    Distributor Defendants’ Transactional Data for the periods before 2006 and
    after 2014, I plot each Distributor Defendants’ monthly shipments of
    hydrocodone into Cabell County and the City of Huntington, WV in Dosage
    Units, MME and base weight in milligram.

            • Appendix 9G: Oxycodone and Hydrocodone Distribution to
            Individual Pharmacies by All Distributors
          142. Using ARCOS data produced by the DEA for 2006-2014 and
    Distributor Defendants’ Transactional Data for the periods before 2006 and
    after 2014, I plot all distributors’ shipments of oxycodone and hydrocodone
    to each pharmacy that received oxycodone or hydrocodone from any of the
    Distributor Defendants in Cabell County and the City of Huntington, WV in
    Dosage Units, MME and base weight in milligram. Shipments made by non-
    defendant distributors are aggregated into the “Other” category.

            • Appendix 9H: Pharmacy Reports
          143. Using ARCOS data produced by the DEA for 2006-2014, I
    tabulate and report Dosage Units, MME and drug weight in milligram shipped
    to retail and chain pharmacies in Cabell County and the City of Huntington,
    WV. I list the pharmacies sorted by total MME. For each year, I report the
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    Dosage Units and drug weight in milligram of oxycodone and hydrocodone,
    and the Dosage Units and MME of the two drugs received by each pharmacy
    from each Distributor. For comparison purposes, I list the average pharmacy
    MME in the county and the state each year and each pharmacy’s percentile
    rank by MME in the state each year.

            • Appendix 9I: Distributor Reports
          144. Using ARCOS data produced by the DEA for 2006-2014, I
    tabulate and report the total Dosage Units per capita by year and by state. I
    rank states by average Dosage Units per capita over the 2006-2014 period and
    plot the 25 states with the highest average Dosage Units per capita.

          145. I tabulate and report the total MME per capita by year and by
    state and rank states by average MME per capita over the 2006-2014 period
    and plot the 25 states with the highest average MME per capita.

          146. I tabulate and report the MME and Dosage Units each year and
    totaled over the 2006-2014 period and market shares over the 2006-2014
    period for each Distributor. I further break down the Distributors’ annual
    shipments and total shipments and market share over the 2006-2014 period
    into the Distributors’ individual DEA numbers.

            • Appendix 9J: Oxycodone and Hydrocodone Distribution to
            Individual Pharmacies by Distributor Defendant
          147. Using ARCOS data for 2006-2014 and Distributor Defendants’
    Transactional Data for the periods before 2006 and after 2014, I plot
    shipments of oxycodone and hydrocodone to individual pharmacies by
    Distributor Defendant and by drug strength.


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              • Appendix 9K: Oxycodone and Hydrocodone Distribution to
              Individual Pharmacies by Distribution Centers
          148. Using processed ARCOS data for 2006-2014 and Distributor
    Defendants’ Transactional Data before 2006 and after 2014, I plot Distributor
    Defendant Distributor Centers’ monthly shipments of oxycodone and
    hydrocodone into individual pharmacies in Cabell County and the City of
    Huntington, WV. In the same chart, I also plot the state and national mean and
    median of the same-month shipment of all chain or retail pharmacies,
    depending on the business activity of this pharmacy.

              • Appendix 9L: Grouped Pharmacy Reports
          149. I tabulate and report defendant shipments of oxycodone and
    hydrocodone to 3 individual pharmacies and 5 groups of pharmacies in Cabell
    County and the City of Huntington, WV, including Drug Emporium,
    McCloud Family Pharmacy, SafeScript Pharmacy, four CVS stores, four
    Fruth stores, two Medicine Shoppe/Medicap stores, five Rite Aid stores, and
    two Walgreen stores. These reports, including monthly or annual charts by
    Distributor Defendants and an annual chart by drug strength, are similar to the
    individual pharmacy reports in Appendix 9.

              • Appendix 10: Other Exhibits
          150. I have been asked by Plaintiff’s Counsel to create similar reports
    in Appendix 9 for pharmacies outside of Cabell County or the City of
    Huntington, WV. In addition, I created some reports employing a different
    layout using the numbers in Appendix 9 or the tables/figures of this expert
    report.



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    IX.   Conclusion

          151. Based upon my comparison of the ARCOS Data produced by the
    DEA, the public ARCOS Retail Drug Summary Reports, and the Defendants’
    Transactional Data, I conclude that - after correcting a relatively small number
    of records - the ARCOS Data produced by the DEA is complete and reliable.

          152. I further conclude that Cardinal Health’s Transactional Data,
    AmerisourceBergen Drug’s Transactional Data, and McKesson Corporation’s
    Transactional Data produced in discovery are reliable sources of transaction
    data before 2006 and after 2014.

          153. The ARCOS Data can be used to identify transactions into a
    state, county, zip code or individual pharmacy meeting certain criteria as I
    have illustrated above.

          154. I continue to review documents and gather information and
    reserve the right to update my analysis and opinions based upon that further
    review of documents and based on any new information including, possibly,
    reports of other experts I may receive.




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                              Appendix 1 Craig McCann Resume




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                               Appendix 2 Corrections to the ARCOS Data

                 155. I exclude certain transactions in the ARCOS Data and make
        corrections to other transactions in the ARCOS Data.

                 156. I make eight types of changes:

                     a. I exclude duplicate transactions, when the same transaction was
                          reported to ARCOS more than once by the same registrant.

                     b. I exclude transactions where the Drug Code from the NDC
                          dictionary is not one of the 14 opioids listed in Table 1.

                     c. I exclude transactions where the Action Indicator code,
                          Correction Number, or both suggest the reported transaction is
                          erroneous.

                     d. I exclude all transactions involving reverse distributors,
                          analytical labs, importers, exporters, or researchers, because they
                          are not relevant to my analysis. In addition, reverse distributors
                          overstate the quantity of opioids shipped for destruction.

                     e. I exclude transactions between two registrants, when the
                          transaction is reported by the registrant receiving the shipment,
                          because the transaction was already reported to ARCOS by the
                          registrant sending the shipment.

                     f. I exclude transactions with obvious errors in the reported
                          Quantity.

                     g. I exclude transactions with Transaction Code “X” (Lost-in-
                          Transit), because “Transaction Code X is an explanatory


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                          transaction code which does not affect an ARCOS registrant’s
                          inventory.”42

                     h. I correct the Calculated Base Weight In Grams when it was
                          calculated using an incorrect Ingredient Base Weight from the
                          NDC dictionary.

                    A. Duplicate Transactions
                 157. The ARCOS Data had 610,381 duplicate transactions in
        December 2007 for one of the Cardinal Health distribution centers (Seller
        DEA Number: RC0221236). I kept one of each group of exact duplicate
        transactions so that there was only one record of each transaction.

                    B. NDC Dictionary
                 158. Three of the fields in the ARCOS Data (NDC, Drug Code, and
        Drug Name) can also be found in the NDC Dictionary. 43 I checked the
        accuracy of the Drug Code and Drug Name in the ARCOS Data by comparing
        those fields to the information in the NDC Dictionary.44 When the two sources
        listed different Drug Codes or Drug Names, I updated the ARCOS Data to

        42
             ARCOS Handbook, §5.8.3, p. 5-19.
        43
                 The        DEA’s         NDC         dictionary      is       available      at
        www.deadiversion.usdoj.gov/arcos/ndc/ndcfile.txt. The dictionary is explained at
        www.deadiversion.usdoj.gov/arcos/ndc/readme.txt. The DEA updates the NDC dictionary
        monthly to correct errors, add new drug products, and remove discontinued drug products.
        I used the NDC dictionary updated on November 1, 2018, plus any discontinued drug
        products from earlier versions of the NDC dictionary in May 2018 – October 2018. An
        alternative     NDC         dictionary     is      maintained     by       the     FDA
        (www.accessdata.fda.gov/scripts/cder/ndc/index.cfm).
        44
           I matched the ARCOS Data to the NDC Dictionary using NDC. For the Drug Code, I
        compared the first four digits of the Drug Code in the ARCOS Data to the first four digits
        of the Drug Code in the DEA’s NDC dictionary. 156 NDCs in the ARCOS Data were not
        in the DEA’s NDC dictionary.
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        reflect the information in the November 2018 NDC Dictionary because the
        NDC Dictionary is updated monthly and I observe the DEA correcting errors
        in the NDC Dictionary. As a result of the comparison, I updated the Drug
        Code and Drug Name in 1,729 reported transactions (less than 0.0001% of the
        transactions).

                 159. After confirming the accuracy of the Drug Codes and Drug
        Names in the ARCOS Data, I found and removed 1,664 transactions (less than
        0.0001% of the transactions) reported in the ARCOS Data which did not
        include any of the fourteen opioids in Table 1.

                 160. I also checked the accuracy of Calculated Base Weight in Grams
        in the ARCOS Data and found some NDCs for which the ARCOS Data
        incorrectly reported the Calculated Based Weight in Grams because it relied
        on an incorrect Ingredient Base Weight in the NDC Dictionary.45 I reviewed
        the Ingredient Base Weights in the NDC Dictionary for all NDCs with Dosage
        Units in the ARCOS Data and flagged Ingredient Base Weights as potentially
        incorrect if the weight of the drug per dosage form (e.g., capsule, tablet, patch)
        was significantly different than other drug products with the same base drug
        and dosage strength.

                 161. For example, the NDC Dictionary reported that NDC
        00056012770 (Percocet 5 mg tablets) contains 0.4483 milligrams of
        oxycodone per 100 tablets (0.004483 milligrams per tablet). Given other data
        in the NDC Dictionary, it is apparent that each 5-milligram tablet has 4.483



        45
           Calculated Base Weight in Grams is a function of the Quantity, Unit, and Strength fields
        in the ARCOS Data, and the Ingredient Base Weight in the NDC Dictionary.
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        milligrams of oxycodone. 46 I concluded that this NDC’s Ingredient Base
        Weight in the NDC Dictionary and Calculated Base Weight in Grams in the
        ARCOS Data should be 1,000 times larger, and accordingly increased the
        Calculated Base Weight in Grams for this NDC.

                 162. I corrected the Calculated Base Weight in Grams of 14 NDCs in
        285,891 reported transactions (approximately 0.06% of the reported
        transactions).47 The DEA’s NDC Dictionary also includes the trade name of
        the drug product (“Trade/Product Name”) and the dosage form (“Package
        Measure”), which I added to the ARCOS Data.

                 163. Finally, I checked the accuracy of the Dosage Unit in the ARCOS
        Data by using the NDC Dictionary. I multiplied the Quantity in the ARCOS
        Data by the Package Quantity in the NDC Dictionary. I did not find any
        discrepancies.

                    C. Erroneous Transactions
                 164. I found and corrected four categories of erroneous transactions
        in the ARCOS Data.




        46
          The drug’s Ingredient Base Weight (e.g., 448.3 mg per 100 tablets) does not match the
        dosage strength (e.g., 500 mg per 100 tablets) because the Ingredient Base Weight is
        presented in terms of the anhydrous base form of the drug, while the dosage strength is
        presented in terms of the salt form of the drug. See p. 6-3 and Appendix 3 of the ARCOS
        Handbook.
        47
          Subsequent versions of the DEA’s NDC dictionary appear to have been updated to
        correct the errors I found. Thus, each version of the DEA’s NDC dictionary should be
        evaluated separately for necessary drug weight corrections.
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                          1.Transactions where    ACTION_INDICATOR           and
                            CORRECTION_ NO are both populated.
                  165. The ARCOS Handbook explains that both the Action Indicator
        and Correction Number fields should never be populated for the same
        transaction. I found and deleted 59,223 such erroneous transactions
        (approximately 0.01% of the transactions).48

                       2.   Adjustments to previously reported transactions.
                  166. Reporters can adjust a previously reported transaction by
        submitting an adjusted transaction to ARCOS with ACTION_INDICATOR
        = “A” and submitting a deletion request for the originally reported
        transaction.49 I identified 483,885 instances where the ARCOS Data included
        an adjusted transaction and either the originally reported transaction, the
        deletion request, or both.50 I deleted the deletion request and the originally
        reported transaction.

                       3.   Deletions of previously reported transactions.
                  167. Reporters can delete a previously reported transaction from
        ARCOS by re-submitting the transaction with ACTION_INDICATOR =
        “D”. 51 I identified 2,492 instances where the ARCOS Data included the




        48
             See ARCOS Handbook, §7.4, p. 7-5.
        49
             See ARCOS Handbook, §5.9.2, p. 5-20; §7.5.1, p. 7-13; and §7.8.2, p. 7-19.
        50
         I identified the original record by matching the Reporter DEA Number, the Buyer DEA
        Number, the transaction month and year, the Drug Code, and the Transaction ID.
        51
             See ARCOS Handbook, §5.9, pp. 5-19 through 5-20, and §7.5.1, p. 7-12.
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        deletion request and the original reported transaction.52 I deleted the original
        transaction and the deletion request.

                      4.   Corrections of previously reported transactions.
                 168. Reported transactions are sometimes rejected by ARCOS. The
        Reporter can then re-submit the transaction as a correction transaction.
        Correction transactions are identified by a record identifier in the
        CORRECTION_NO field.53 I identified 17,320 instances where the ARCOS
        Data included both the rejected transaction and the corrected transaction. I
        kept the corrected transaction and deleted the originally reported transaction.54

                    D. Transactions Involving Reverse Distributors, Analytical
                    Labs, Importers, Exporters or Researchers
                 169. Reverse distributors, manufacturers and distributors ship opioids
        to analytical labs for destruction. Usually, manufacturers and distributors ship
        the opioids to the reverse distributors, who then ship them to the analytical
        labs. However, manufacturers and distributors sometimes ship opioids
        directly to analytical labs. Opioids shipped to reverse distributors or analytical
        labs are virtually never subsequently shipped to Dispensers. 55 I exclude
        transactions in the ARCOS Data involving reverse distributors or analytical
        labs because my analysis is focused on the flow of opioids to Dispensers.


        52
          I identified the original record by matching the Reporter DEA Number, the Buyer DEA
        Number, the Transaction ID, the Transaction Date, the Order Form Number, the NDC, and
        the Quantity.
        53
             See ARCOS Handbook, §5.16, p.5-42 and §7.5, pp. 7-12 through 7-15.
        54
         I identified the original record by matching the Reporter DEA Number, the Buyer DEA
        Number, the transaction month and year, the Drug Code, and the Transaction ID.
        55
          The ARCOS Data reports 23,275 grams (Calculated Base Weight) of opioids were
        shipped from reverse distributors to Dispensers.
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                 170. In addition, a number of transactions reported by reverse
        distributors have astronomical Calculated Base Weight in Grams either
        because the Unit code, used to specify the Quantity’s unit of measurement, is
        set for kilograms when the most likely unit is milligrams for most opioids or
        micrograms for fentanyl, or because the Quantity itself is astronomical. For
        example, one pair of transactions reported by a reverse distributor in Georgia
        includes a receipt (coded P) of 45,902 metric tons of morphine from a
        manufacturer and a matched shipment for destruction (coded Y) to an
        analytical lab in Florida. In total, the ARCOS Data reflects 539,839 metric
        tons of opioids being shipped to analytical labs for destruction.

                 171. The ARCOS Data reports a relatively small quantity of opioids
        (91.3 metric tons of Calculated Base Weight) being sent to importers,
        exporters or researchers. I exclude transactions in the ARCOS Data involving
        importers, exporters or researchers because my analysis is focused on the flow
        of opioids to Dispensers.

                    E. Transactions between ARCOS Registrants
                 172. Transactions between ARCOS registrants should be reported
        twice in the ARCOS Data, once by each registrant. For example, a shipment
        from a manufacturer to a distributor should be reported once by the
        manufacturer and once by the distributor. To avoid double-counting, I keep
        the transaction reported by the registrant sending the shipment, and exclude
        the transaction reported by the registrant receiving the shipment.

                    F. Transactions with Obvious Errors in Quantity
                 173. I also exclude transactions with obvious errors in Quantity. For
        example, I exclude a single sale transaction of Hydrocodone/APAP tablets
                                             - 112 -



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        from a distributor to a practitioner in the Northern Mariana Islands that has a
        Calculated Base Weight of 34 metric tons.

                    G. Transaction Code “X”
                 174. I exclude all transactions with Transaction Code “X”. The
        ARCOS Handbook explains that this code “is used by the seller to report the
        loss or theft of an in-transit shipment of a reportable controlled substance. It
        is reported in addition to the normal sales transaction (transaction code S).
        Transaction code X is an explanatory transaction code that does not affect an
        ARCOS registrant’s inventory.”56

                 175. Table 41 summarizes the effect of my exclusions and corrections
        on the number of transactions and the total Calculated Base Weight in Grams
        in the ARCOS Data.




        56
             ARCOS Handbook, §5.8.3, p. 5-19 (emphasis in original).
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        Table 41 Exclusions and Corrections to the ARCOS Data
                                                                               Change in
                                                        Change in              Calculated
                                                    # of Transactions         Base Weight
       Exclude Duplicate Transactions
         Cardinal Health Distributor, Dec. 2007
         (DEA:             )                                  (610,381)            (1,747,195)


       Exclude Irrelevant Drug Codes                             (1,664)                  (53)

       Exclude Erroneous Transactions
       Action Indicator and Correction No.
         Both Populated                                        (59,223)          (69,513,829)
       Adjustments to Previous Transactions                   (483,885)          (26,215,303)
       Deletions of Previous Transactions                       (2,492)           (2,218,380)
         Corrections of Previous Transactions                  (17,320)           (1,715,081)
         Total Erroneous Transactions                         (562,920)          (99,662,593)

         Exclude Transactions Involving
       Reverse Distributors, Analytical Labs,
       Importers, Exporters or Researchers                  (45,398,192)   (1,083,219,607,303)

       Exclude Double-Reporting of
       Transactions between Registrants                     (14,508,254)       (8,671,652,671)


       Exclude Transactions with
       Obvious Errors in Quantity                                    (1)         (34,053,752)


       Exclude Transaction Code "X"
       (Lost-in-Transit)                                         (3,729)            (116,009)

       Fix Calculated Base Weight in Grams                             -        (183,394,936)

       Total Effect of Exclusions and
       Corrections                                          (61,085,141)   (1,092,210,234,512)




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                       Appendix 3 Frequency and definition of transaction codes

         Transaction         % of        Impact on
            Code          Transactions    Inventory                         Description

        S                       88.43%       -         Sale, Disposition, or Transfer
        Y                        3.84%       -         Destroyed
        Z                        0.00%       -         Receipt by Government (seizures, samples, etc.)
        Q                        0.00%       -         Sampling (manufacturers only)
        K                        0.00%       -         Used in Preparations (manufacturers only)
        N                        0.00%       -         Nonrecoverable Waste (manufacturers only)
        P                        7.14%       +         Purchase or Receipt
        R                        0.55%       +         Return
        V                        0.03%       +         Unsolicited Return
        G                        0.00%       +         Government Supplied
        L                        0.00%       +         Reversing (manufacturers only)
        M                        0.00%       +         Manufactured (manufacturers only)
        W                        0.00%       +         Recovered Waste (manufacturers only)
        J                        0.00%       +         Return of Sample to Inventory (manufacturers only)
        X                        0.00%      n/a        Lost-in-Transit




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                               Appendix 4 Corrections to DEA’s NDC Dictionary

                                       Ingredient Base Weight       Corrected Ingredient
         NDC                        in Grams in NDC Dictionary      Base Weight in Grams
         00603388228                                   136.215000                   0.136215
         00781560210                                     0.000892                   4.460500
         00056012770                                     0.000448                   0.448300
         00591245401                                 3,586.000000                   3.586000
         005913578**                                     0.000001                   0.004500
         107020184**                                     2.241250                   0.002241
         27280BH5701                                     0.570000                   0.057000
         52493019110                                     0.003020                   0.030200
         674330154**                                     0.000026                   0.003027
         674330888**                                     0.000705                   0.021363
         000440623**                                     0.000024                   0.023900
         00062A01628                                     0.695094                   0.397197
         00062A03228                                     0.695094                   0.794394
         000540438**                                     0.580400                290.200000




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                                Appendix 5 MME Conversion Factors (from CDC)
                                                                                   1,2
            Opioid Oral Morphine Milligram Equivalent (MME) Conversion Factors

        Type of Opioid (strength units)                          MME Conversion Factor

        Buprenorphine film/tablet3 (mg)                                                  30
        Buprenorphine patch4 (mcg/hr)                                                12.6
        Buprenorphine film (mcg)                                                     0.03
        Butorphanol (mg)                                                                7
        Codeine (mg)                                                                 0.15
        Dihydrocodeine (mg)                                                          0.25
                                                       5
        Fentanyl buccal or SL tablets, or lozenge/troche (mcg)                       0.13
                                  6
        Fentanyl film or oral spray (mcg)                                            0.18
                            7
        Fentanyl nasal spray (mcg)                                                   0.16
        Fentanyl patch8 (mcg)                                                            7.2
        Hydrocodone (mg)                                                                   1
        Hydromorphone (mg)                                                                 4
        Levorphanol tartrate (mg)                                                         11
        Meperidine hydrochloride (mg)                                                    0.1
        Methadone9 (mg)                                                                 3
           >0, <= 20                                                                    4
           >20, <=40                                                                    8
           >40, <=60                                                                   10
           >60                                                                         12
        Morphine (mg)                                                                   1
        Opium (mg)                                                                      1
        Oxycodone (mg)                                                                1.5
        Oxymorphone (mg)                                                                3
        Pentazocine (mg)                                                             0.37
        Tapentadol10 (mg)                                                                0.4
        Tramadol (mg)                                                                    0.1


        1
          The MME conversion factor is intended only for analytic purposes where prescription data is used to calculate daily MME. It is to
        be used in the formula: Strength per Unit X (Number of Units/ Days Supply) X MME conversion factor = MME/Day. This value
        does not constitute clinical guidance or recommendations for converting patients from one form of opioid analgesic to another.
        Please consult the manufacturer’s full prescribing information for such guidance. Use of this file for the purposes of any clinical
        decision-making warrants caution.
        2
          National Center for Injury Prevention and Control. CDC compilation of benzodiazepines, muscle relaxants, stimulants, zolpidem,
        and opioid analgesics with oral morphine milligram equivalent conversion factors, 2016 version. Atlanta, GA: Centers for Disease
        Control and Prevention; 2016. Available at https://www.cdc.gov/drugoverdose/media/. For more information, send an email to
        Mbohm@cdc.gov.
        3
         Buprenorphine formulations with a FDA approved indication for Medication Assisted Treatment (MAT) are excluded from
        Medicare’s Overutilization Monitoring System’s opioid overutilization reporting.




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        4
          The MME conversion factor for buprenorphine patches is based on the assumption that one milligram of parenteral buprenorphine
        is equivalent to 75 milligrams of oral morphine and that one patch delivers the dispensed micrograms per hour over a 24 hour day.
        Example: 5 ug/hr buprenorphine patch X 24 hrs = 120 ug/day buprenorphine = 0.12 mg/day = 9 mg/day oral MME. In other
        words, the conversion factor not accounting for days of use would be 9/5 or 1.8.
        However, since the buprenorphine patch remains in place for 7 days, we have multiplied the conversion factor by 7 (1.8 X 7 =
        12.6). In this example, MME/day for four 5 μg/hr buprenorphine patches dispensed for use over 28 days would work out as
        follows: Example: 5 ug/hr buprenorphine patch X (4 patches/28 days) X 12.6 = 9 MME/day. Please note that because this
        allowance has been made based on the typical dosage of one buprenorphine patch per 7 days, you should first change all Days
        Supply in your prescription data to follow this standard, i.e., Days Supply for buprenorphine patches= # of patches x 7.
        5
          The MME conversion factor for fentanyl buccal tablets, sublingual tablets, and lozenges/troche is 0.13. This conversion factor
        should be multiplied by the number of micrograms in a given tablet or lozenge/troche.
        6
          The MME conversion factor for fentanyl film and oral spray is 0.18. This reflects a 40% greater bioavailability for films compared
        to lozenges/tablets and 38% greater bioavailability for oral sprays compared to lozenges/tablets.
        7
          The MME conversion factor for fentanyl nasal spray is 0.16, which reflects a 20% greater bioavailability for sprays compared to
        lozenges/tablets.
        8
          The MME conversion factor for fentanyl patches is based on the assumption that one milligram of parenteral fentanyl is equivalent
        to 100 milligrams of oral morphine and that one patch delivers the dispensed micrograms per hour over a 24 hour day. Example: 25
        ug/hr fentanyl patch X 24 hrs = 600 ug/day fentanyl = 60 mg/day oral morphine milligram equivalent.
        In other words, the conversion factor not accounting for days of use would be 60/25 or 2.4.
        However, since the fentanyl patch remains in place for 3 days, we have multiplied the conversion factor by 3 (2.4 X 3 = 7.2). In this
        example, MME/day for ten 25 μg/hr fentanyl patches dispensed for use over 30 days would work out as follows:
        Example: 25 ug/hr fentanyl patch X (10 patches/30 days) X 7.2 = 60 MME/day. Please note that because this allowance has been
        made based on the typical dosage of one fentanyl patch per 3 days, you should first change all Days Supply in your prescription
        data to follow this standard, i.e., Days Supply for fentanyl patches= # of patches X 3.
        9
          The CDC MME conversion factor to calculate morphine milligram equivalents is 3. CMS uses this conversion factor when
        analyzing Medicare population opioid use. CMS uses the graduated methadone MME conversion factors to calculate MME within
        the Overutilization Monitoring System (OMS) for identifying and reporting potential opioid overutilizers.
        https://www.cdc.gov/drugoverdose/pdf/calculating_total_daily_dose-a.pdf.
        10
          Tapentadol is a mu receptor agonist and norepinephrine reuptake inhibitor. Oral MMEs are based on degree of mu-receptor
        agonist activity, but it is unknown if this drug is associated with overdose in the same dose-dependent manner as observed with
        medications that are solely mu receptor agonists




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                                   Appendix 6 ARCOS Summary

                 176. Appendix 6A summarizes opioid shipment transactions reported
        in the ARCOS Data by drug, by reporter’s business activity, by buyer’s
        business activity, and by year for Cabell County and the City of Huntington,
        WV.

                 177. Appendix 6B summarizes opioid shipment transactions reported
        in the ARCOS Data by drug, by reporter’s business activity, by buyer’s
        business activity, and by year for West Virginia and all its counties

                 178. This appendix is attached as a separate 174-page PDF.


                     Appendix 7 Cabell County and the City of Huntington, WV
                       Flagged Distributor Defendant Transaction Reports

                 179. This appendix shows the result of implementing various
        methodologies described in Section VII to identify transactions meeting
        specified criteria using the non-public ARCOS Data from 2006 to 2014,
        supplemented with Defendant Transactional Data, of each Distributor
        Defendant.

                 180. This appendix is attached as a separate 218-page PDF.


                   Appendix 8 Map of Cabell County and the City of Huntington,
                                              WV

                 181. This appendix includes a map illustrating the location of Cabell
        County (red) and the City of Huntington (yellow), along with the zip code
        257** and 255** that covers the entire city and county.

                 182. This appendix is attached as a separate 2-page PDF.
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                     Appendix 9 Cabell County and the City of Huntington, WV
                               Additional Expert Report Figures and Charts

                 183. This appendix is described in Section VIII and attached as a
        separate 4,584-page PDF.


                                         Appendix 10 Other Exhibits

                 184. This appendix is described in Section VIII and attached as a
        separate 2,528-page PDF.




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